USCA11 Case: 23-14115    Document: 19    Date Filed: 12/29/2023   Page: 1 of 175



                                No. 23-14115

               UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT


                    IN RE: SECRETARY, STATE OF GEORGIA,
                                                  Petitioner.

 On Petition for Mandamus to the United States District Court for the Northern
    District of Georgia, Case No. 1:17-cv-02989-AT, Hon. Amy Totenberg

    OPPOSITION OF RESPONDENTS TO MANDAMUS PETITION

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  DECEMBER 29, 2023
USCA11 Case: 23-14115      Document: 19       Date Filed: 12/29/2023   Page: 2 of 175



   NOTICE REGARDING CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rules 26.1.1-26.1.3, undersigned counsel of record for mandamus respondents

Donna Curling, Donna Price, and Jeffrey Schoenberg identifies the following

interested persons omitted from the Certificate of Interested Persons contained in

Defendants-Appellants’ opening brief:

      1.    Palmore, Joseph R., counsel for mandamus respondents Donna Curling,

Donna Price, and Jeffrey Schoenberg;

      2.    Wacks, Joel F., counsel for mandamus respondents Donna Curling,

Donna Price, and Jeffrey Schoenberg.

Dated: December 29, 2023                           /s/ Joseph R. Palmore




                                        C-1
 USCA11 Case: 23-14115                   Document: 19            Date Filed: 12/29/2023                Page: 3 of 175



                                         TABLE OF CONTENTS

NOTICE REGARDING CERTIFICATE OF INTERESTED PERSONS............C-1

TABLE OF AUTHORITIES .....................................................................................ii

INTRODUCTION .....................................................................................................1

STATEMENT OF THE ISSUE .................................................................................2

STATEMENT OF THE CASE ..................................................................................2

         A.       Georgia’s voting system and its grave vulnerabilities ..........................2

         B.       Plaintiffs’ lawsuit ..................................................................................5

         C.       Secretary Raffensperger ........................................................................7

                  1.       Plaintiffs’ attempts to gather information from other
                           witnesses .....................................................................................8

                  2.       Secretary Raffensperger’s public statements ............................12

                  3.       Trial subpoena ...........................................................................16

                  4.       Subsequent developments .........................................................18

STANDARD OF REVIEW .....................................................................................19

ARGUMENT ...........................................................................................................20

         A.       Plaintiffs Established A “Special Need” for Secretary
                  Raffensperger’s Testimony .................................................................20

         B.       The Secretary’s Objections To The District Court’s Order Lack
                  Merit ....................................................................................................26

CONCLUSION ........................................................................................................31




                                                             i
 USCA11 Case: 23-14115                Document: 19           Date Filed: 12/29/2023           Page: 4 of 175



                                    TABLE OF AUTHORITIES

                                                                                                        Page(s)

Cases
Atl. J & Const. v. City of Atl. Dep’t of Aviation,
   175 F.R.D. 347 (N.D. Ga. 1997) ..................................................................17, 22

In re BellSouth Corp.,
    334 F.3d 941 (11th Cir. 2003) ...................................................................... 20, 26

Bogan v. City of Boston,
  489 F.3d 417 (1st Cir. 2017) ............................................................................... 29

Celentano v. Nocco,
   No. 8:15-cv-1461-T-30AAS, 2016 WL 4943939
   (M.D. Fla. Sept. 16, 2016) .................................................................................. 22

Curling v. Raffensperger,
  No. 1:17-cv-2989-AT, 2023 WL 7463462
  (N.D. Ga. Nov. 10, 2023) ........................ 2, 3, 4, 5, 6, 7, 9, 10, 11, 12, 14, 15, 24

Curling v. Sec’y of Georgia,
  761 F. App’x 927 (11th Cir. 2019) ................................................................... 6, 7

Fair Fight Action, Inc. v. Raffensperger,
   333 F.R.D. 689 (N.D. Ga. 2019) ......................................... 17, 20, 21, 22, 23, 25

Greater Birmingham Ministries v. Merrill,
  321 F.R.D. 406 (N.D. Ala. 2017) .................................................................17, 22

Davis ex rel. J.D.D. v. Carroll,
  No. 8:16-CV-0998-T-35MAP, 2017 WL 11151858
  (M.D. Fla. July 24, 2017).................................................................................... 20

In re Lopez-Lukis,
    113 F.3d 1187 (11th Cir. 1997) .......................................................................... 20

McDaniel v. Bradshaw,
  No. 10-81082-CIV, 2011 WL 13150501 (S.D. Fla. May 23, 2011) .................. 21




                                                        ii
 USCA11 Case: 23-14115                Document: 19            Date Filed: 12/29/2023           Page: 5 of 175


In re Moody,
    755 F.3d 891 (11th Cir. 2014) ............................................................................ 20

In re Paxton,
    60 F.4th 252 (5th Cir. 2023) .........................................................................28, 29

Simplex Time Recorder Co. v. Sec’y of Labor,
   766 F.2d 575 (D.C. Cir. 1985) ............................................................................ 29

U.S Bd. of Parole v. Merhige,
   487 F.2d 25 (4th Cir. 1973) ..........................................................................29, 30

In re United States,
    985 F.2d 510 (11th Cir. 1993) ..........................................................17, 18, 21, 22

United States v. Frazier,
  387 F.3d 1244 (11th Cir. 2004) .......................................................................... 19

In re University of Michigan,
    936 F.3d 460 (6th Cir. 2019) .............................................................................. 30

In re USA,
    624 F.3d 1368 (11th Cir. 2010) .......................................................................... 21

Walter Int’l Prods., Inc. v. Salinas,
  650 F.3d 1402 (11th Cir. 2011) .......................................................................... 19

Other Authorities
Ga. Sec’y of State, About Secretary Raffensperger
  https://sos.ga.gov/page/about-secretary-raffensperger
  (last visited Dec. 27, 2023) ................................................................................... 8

Ga. Sec’y of State Press Release, Secretary Raffensperger Calls on J.
  Alex Halderman to Agree to Release “Secret Report” and Pre-
  Election Testimony (Jan. 27, 2022),
  https://sos.ga.gov/news/secretary-raffensperger-calls-j-alex-
  halderman-agree-release-secret-report-and-pre-election .................................... 13

Ga. Sec’y of State Press Release, Secretary Raffensperger Joins
  Colleagues in Calling for Restored Trust in Electoral Systems
  (Dec. 6, 2023), https://sos.ga.gov/news/secretary-raffensperger-
  joins-colleagues-calling-restored-trust-electoral-systems .................................. 14

                                                        iii
USCA11 Case: 23-14115             Document: 19         Date Filed: 12/29/2023       Page: 6 of 175


Brad Raffensperger, Integrity Counts (2021) ......................................................2, 31

Secretary Brad Raffensperger, Remarks to the General Assembly:
   Setting the Election Security Record Straight (June 20, 2023),
   https://sos.ga.gov/news/setting-election-security-record-straight ................13, 14




                                                  iv
USCA11 Case: 23-14115         Document: 19      Date Filed: 12/29/2023    Page: 7 of 175



                                  INTRODUCTION

      Mandamus petitioner, Georgia Secretary of State Brad Raffensperger, falls far

short of establishing the clear and indisputable entitlement to relief required for

mandamus. He seeks this Court’s emergency intervention to avoid testifying for

only 75 minutes (plus limited redirect) at a January trial on the security and reliability

of Georgia’s voting system that he administers. And he does so even though, as the

district court found, he has “direct personal factual information pertaining to material

issues” that will be contested at trial. Pet. Ex. 9 at 3. Indeed, defendants’ witnesses

repeatedly testified in depositions that they did not possess highly relevant factual

information and that only Secretary Raffensperger did. That evidentiary gap was

foundational to the district court’s order, yet the Secretary’s mandamus petition

misleadingly ignores it.

      Given the centrality of Secretary Raffensperger’s testimony to the issues at

trial and Plaintiffs’ inability to secure the needed information from any other

witness, the district court acted well within its broad trial-management discretion

when ordering him to testify. At the same time, the court showed appropriate

awareness of Secretary Raffensperger’s position and the demands on his time by

imposing a significant time limit on his testimony.

      The Secretary himself has recognized the necessity of courtroom testimony to

the fact-finding process. As he wrote in his recent book Integrity Counts, “[t]he


                                            1
USCA11 Case: 23-14115         Document: 19      Date Filed: 12/29/2023    Page: 8 of 175


ultimate fact-check in the United States [], occurs in courts of law, where witnesses

swear to tell the truth or risk imprisonment and where lawyers must also tell the truth

or risk disbarment. If you want to know the truth, watch what happens in court.”

Brad Raffensperger, Integrity Counts 143 (2021).

      The petition should be denied.

                          STATEMENT OF THE ISSUE

      Whether petitioner has satisfied the mandamus standard by showing he is

clearly and indisputably entitled to relief from an order requiring him to testify for

75 minutes (plus redirect) at a trial on factual matters about which he has personal,

firsthand knowledge unavailable from other witnesses.

                           STATEMENT OF THE CASE

      A.     Georgia’s voting system and its grave vulnerabilities

      Most jurisdictions in the United States use hand-marked paper ballots

tabulated by scanners as the main form of balloting. Resp. Ex. 11 at 31; Resp. Ex. 13

at 9-11. Georgia, however, is one of the only States to require in-person voters to

cast votes on electronic touchscreen machines known as ballot marking devices or

BMDs. Curling v. Raffensperger, No. 1:17-cv-2989-AT, 2023 WL 7463462, at *9-

*11 (N.D. Ga. Nov. 10, 2023).

      Georgia’s BMD system has been plagued by numerous problems creating

substantial barriers to voting. Id. at *12-*24; see id. at *45 (district court noting that


                                            2
USCA11 Case: 23-14115        Document: 19      Date Filed: 12/29/2023   Page: 9 of 175


it found in 2020 that the “substantial risks and long-run threats posed by Georgia's

BMD system” were “evident,” and included “serious system security vulnerability

and operational issues that may place Plaintiffs and other voters at risk of deprivation

of their fundamental right to cast an effective vote that is accurately counted” and

that the “evidentiary record” has grown even stronger since then.) (citation omitted).

In particular, the State’s administration of its electronic voting system, including its

poor cybersecurity practices, has left this system open to attack. Id. at *12-*19. Yet

Georgia’s system offers voters no way of checking that the machines captured their

votes correctly, as it is supposed to record votes on a QR barcode that humans cannot

read. Id. at *12-*13. The State has also taken shortcuts in Logic and Accuracy

testing, contributing to the impossibility of meaningfully auditing its BMD system.

Id. at *13.

      Dr. Alex Halderman, Plaintiffs’ expert, “determined that the BMD and related

voting equipment suffered from ‘critical vulnerabilities’ that could ‘be exploited to

subvert all of [the BMD’s] security mechanisms.” Id. at *14 (citation omitted;

brackets in original); see id. at *14-*17 (summarizing Halderman’s report and the

“7 Core Vulnerabilities” in Georgia’s BMD system he identified); id. at *1 n.2

(“[S]ome of the nation’s leading cybersecurity experts and computer scientists have

provided testimony and affidavits on behalf of Plaintiffs’ case in the long course of

this litigation.”).   In 2022, the U.S. Department of Homeland Security’s

                                           3
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 10 of 175


Cybersecurity and Infrastructure Agency (CISA) issued a public advisory

“confirm[ing] many of the vulnerabilities identified by Dr. Halderman.” Id. at *17.

CISA recommended that jurisdictions using Dominion BMDs install software and

firmware updates to address some of these vulnerabilities. But, “a number of critical

software updates related to the operation of Dominion’s software and equipment

have not been purchased or installed in Georgia.”            Id. at *18.    CISA also

recommended a number of “mitigation steps” jurisdictions could take to reduce

security risks related to BMDs. Id. But as the district court recently observed, “no

evidence has been presented that the State Defendants have implemented CISA’s

recommended mitigation steps.” Id.

      The grave vulnerabilities in Georgia’s voting system were further exposed by

the breaches of Georgia’s voting system in Coffee County starting on January 7,

2021. Id. at *19-*27. As the district court summarized, those breaches involved

“various individuals and entities”: “(1) providing and gaining unauthorized access

to Coffee County voting equipment, data, and software over the course of multiple

dates;” “(2) copying, downloading, and imaging the County’s equipment, data, and

software;” “(3) uploading and sharing that data and software on the internet via a

file-sharing website;” and “(4) further distributing physical copies of forensic voting

material downloaded from Coffee County.” Id. at *19; see id. at *1 (noting that

several individuals involved in the Coffee County breaches were indicted in the

                                           4
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 11 of 175


pending RICO criminal case in Fulton County Superior Court). Plaintiffs’ experts

found that this “copying and broad distribution of voting system data and software

materially increases the risk that a future Georgia election will be attacked—

especially because all 159 counties in Georgia use the same voting system software

and system configurations.” Id. at *19.

      Georgia’s BMDs are thus riddled with serious vulnerabilities in an

environment of advanced persistent threats to U.S. elections by sophisticated actors.

The upshot is that voters who wish to vote in person are forced to cast their votes on

machines that cannot reasonably ensure their votes will be recorded accurately.

      B.     Plaintiffs’ lawsuit

      In 2017, individual Georgia voters and the Coalition for Good Governance

filed suit in state court against then-Secretary of State Brian Kemp and other

defendants.1 Id. at *5. Plaintiffs coalesced into two groups, the “Curling Plaintiffs”

(Donna Curling, Donna Price, Jeffrey Schoenberg) and the “Coalition Plaintiffs”

(Laura Digges, William Digges III, Ricardo Davis, Megan Misset, and the Coalition

for Good Governance). Id. at *6 n.9; see id. at *3 (district court glossary of people

involved in case).




1
 Secretary Raffensperger was substituted as a defendant in his official capacity
after he assumed the office in January 2019.
                                           5
USCA11 Case: 23-14115        Document: 19       Date Filed: 12/29/2023   Page: 12 of 175


       Early litigation focused principally on the electronic touchscreen voting

machines Georgia used at the time. Id. at *5-*9. Those machines, known as Direct

Recording Electronic (DRE) machines, were predecessors to the current BMDs. Id.

at *5. Plaintiffs’ second amended complaint in 2017 challenged the unreliable and

unsecured DRE system as unlawful, including because it violated the fundamental

right to vote guaranteed by the Due Process Clause of the Fourteenth Amendment.

Id. Plaintiffs sought, among other things, to enjoin use of the DRE voting system.

Id. at *6.

       Before the 2018 general election, Plaintiffs moved for preliminary injunctions

against the use of electronic voting machines. Id. The district court found that the

DRE system “pose[d] a concrete risk of alteration of ballot counts that would impact

[plaintiffs’] own votes.” Id. (citation omitted; first bracket in original). But the court

ultimately denied a preliminary injunction due to timing concerns, concluding an

injunction on the eve of 2018 elections “would undermine the government’s and the

public’s interest in the orderly administration of elections.” Id. At the same time,

the court “expressly warned Defendants that further delay by the State in remediating

its technologically outdated and vulnerable voting system would be intolerable.” Id.

(citation omitted).2


2
 At the same time, the district court denied a motion by State Defendants to dismiss
on standing, sovereign-immunity, and legislative-immunity grounds. Curling v.
Sec’y of Georgia, 761 F. App’x 927, 930 (11th Cir. 2019) (discussing district court
                                            6
USCA11 Case: 23-14115      Document: 19       Date Filed: 12/29/2023   Page: 13 of 175


      Plaintiffs moved for preliminary injunctions before the 2019 local elections.

Id. at *6. As to electronic voting machines, the district court again found the DRE

machines constitutionally deficient. Id. at *7-*9. The court enjoined the use of DRE

machines, with the injunction taking effect after 2019 in time for the 2020

presidential election cycle. See Id. at *9. State Defendants did not appeal the

injunction against the DRE machines or any aspect of that order; instead, Georgia

enacted legislation replacing the DRE machines with the BMD machines, which, as

explained above, are also unreliable and insecure. Id. at *9-*10. In 2019, Plaintiffs

filed amended complaints asserting constitutional challenges to the BMD system.

Id. at *11.

      In January 2023, State Defendants moved for summary judgment. Id. at *28.

The district court granted in part and denied in part, allowing plaintiffs’

constitutional claims against the BMD voting system to proceed to trial. Id. at *44-

*49. Trial is scheduled for January 9, 2024. Id. at *55.

      C.      Secretary Raffensperger

      Secretary Raffensperger, the lead defendant in this case, has ultimate

responsibility for the actions (or inactions) of his Office and directed activities


decision). State Defendants filed an interlocutory appeal from that denial. Id. This
Court dismissed the appeal as to standing. Id. at 934-35. On immunity, this Court
affirmed, holding that “Plaintiffs comfortably satisfy” the exception to state
sovereign immunity for injunctive suits against state officials, and that legislative
immunity is inapplicable. Id. at 930-34.
                                          7
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 14 of 175


central to this litigation. E.g., Resp. Ex. 8 (Raffensperger press release discussing

the Secretary’s involvement in implementing the BMD system).3

             1.    Plaintiffs’ attempts to gather information from other witnesses

      In 2022, the district court “defer[ed]” a decision on whether to allow plaintiffs

to depose Secretary Raffensperger. Pet. Ex. 5 at 44:25. The court explained that the

question was premature because the parties did not yet know what other witnesses

were “going to say” in their depositions and thus whether Secretary Raffensperger’s

testimony would be necessary to fill any gaps. Pet. Ex. 5 at 44:18-45:4. The court

explained that a decision on his testimony should come “last,” i.e., after other

witnesses had been deposed, and that the court would have to be “persuaded” at that

time to require his testimony. Pet. Ex. 5 at 44:19, 45:1.

      Plaintiffs proceeded with deposing other state witnesses pursuant to Rule

30(b)(6). Despite their obligation to educate themselves before providing testimony

on behalf of the Secretary’s Office, none of these witnesses indicated they contacted

the Secretary for his knowledge on the noticed topics, and he apparently made no

efforts to communicate his knowledge to these designees. Fed. R. Civ. P. 30(b)(6);

See, Resp. Ex. 1 at 10:18-10:25 (Mr. Harvey spoke only with Counsel to prepare for



3
    See also Ga. Sec’y of State, About Secretary Raffensperger
https://sos.ga.gov/page/about-secretary-raffensperger (last visited Dec. 27, 2023)
(“As Secretary of State, Raffensperger delivered the largest implementation of
voting machines in the history of this country, on time and on budget.”).
                                           8
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 15 of 175


his 30(b)(6) deposition); Resp. Ex. 4 at 15:3-5 (same for Mr. Barnes); Resp. Ex. 2 at

14:16-15:14, 52:11-53:7, Resp. Ex. 3 at 397:8-397-11 (describing Mr. Beaver’s

efforts to prepare for his 30(b)(6) deposition, but does not name Secretary

Raffensperger); Resp. Ex. 5 at 161:14-161:21 (same for Mr. Sterling); Resp. Ex. 12

at 13:23-15:9 (same).

      Instead, witness after witness testified that only Secretary Raffensperger could

speak to matters central to this case, including (i) the purported 2021 investigation

into the Coffee County breaches; (ii) his own factual assertions on core issues; and

(iii) his own decisions about what, if anything, the State is doing to maintain and

secure its voting system.

      For example, Plaintiffs attempted to question Michael Barnes, who “play[s] a

major role in management of [Georgia’s] electronic election system,” (Curling, 2023

WL 7463462, at *6), about the state’s examination (or non-examination) of voting

equipment and servers, but he was unable to answer:

            Q: Do you know why the Secretary’s Office never performed any
      forensic examination of any of the DRE voting equipment or the – or the
      servers, the GEMS servers?
            Ms. LaROSS: Objection to the form of the question.
            THE WITNESS: No, sir, I do not.
      BY MR. CROSS:
            Q: Who would make that decision on whether to conduct that type of
      examination?
            A: I believe that would be a decision that would be made by the
      Secretary.
            Q: Do you know if there was ever discussion or consideration of that
      type of examination of the old system?
                                           9
USCA11 Case: 23-14115       Document: 19      Date Filed: 12/29/2023   Page: 16 of 175


             A: I do not know.

Resp. Ex. 4 at 33:6-33:21. Barnes was likewise unable to explain why Secretary

Raffensperger had chosen not to have an election security expert evaluate Georgia’s

system:

             Q. But if you’re confident that the system is secure, particularly in an
      environment now where there have been extraordinary claims made about the
      reliability of that system, why not just have an election security expert analyze
      it, examine it, and offer an opinion on whether it’s reliable?
             MS. LaROSS: I object to the form of the question.
             THE WITNESS: I’m sure if the Secretary of State decided that he
      wanted to do that, that that would get done.
             BY MR. CROSS:
             Q. And as you sit here, you don’t know why he’s not decided that;
      right?
             Ms. LaROSS: I object to the form of the question.
             THE WITNESS: I do not.

Resp. Ex. 4 at 296:20-297:11.

      When plaintiffs questioned Sanford Merritt Beaver, “the Secretary of State’s

Office Chief Information Officer with responsibility for election cybersecurity and

technology” (Curling, 2023 WL 7463462, at *19 n.31), about public statements the

Secretary’s Office had made on its response to security vulnerabilities, he disclaimed

any knowledge:

             Q: Okay. Did you – were you given an opportunity to review any of
      the public statements that the Secretary’s office put out or any
      communications with the press about those incidence [sic] before those
      statements were made?
             A: Not that I recognize – I mean, remember. I mean, I focus on the IT
      infrastructure[.] [P]ress releases and all that media kind of stuff is handled by
      the Secretary’s front office.
                                         10
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 17 of 175




Resp. Ex. 2 at 108:15-108:24; see Resp. Ex. 2 at 183:6-8 (Beaver testifying that by

“front office” he meant Secretary Raffensperger). Beaver likewise testified that

Secretary Raffensperger was the decisionmaker on the Office’s decision to replace

certain software with security vulnerabilities:

            Q: When was the decision made to move away from E-Net?
            A: Last year.
            Q: Who made that decision?
            A: Front office.
            Q: And by front office who do you mean?
            A: Secretary.
            Q: Oh, Secretary Raffensperger?
            A: Yes. Those kind of decisions, it comes down to him to make the
      call. We present proposals and it’s up to him to say yay, nay.
            Q: What –
            A: It’s a big decision.
            Q: Sorry.
            A: Yeah, that was a big, big decision.

Resp. Ex. 2 at 183:2-183:16.

      Chris Harvey, the former director of elections in the Secretary’s Office

(Curling, 2023 WL 7463462, at *3) was similarly unable to answer questions about

why the current BMD system was chosen, saying the question was best directed to

Secretary Raffensperger:

             Q: Do you know why the Secretary’s office picked a Q.R. code system
      rather than one that tabulates human readable text for the election system?
             A: I don’t.
             Q: Who would you ask if you wanted to know the answer to that
      question?
             A: Well, ultimately, the decision was made by the Secretary. I know
      there was a committee that was evaluating the systems. I was not part of that
                                          11
USCA11 Case: 23-14115        Document: 19    Date Filed: 12/29/2023   Page: 18 of 175


      committee. I don’t know if they offered recommendations or advice, but
      ultimately, it was the Secretary that made the decision.

Resp. Ex. 1 at 17:20-18:7; see Resp. Ex. 1 at 22:2-22:8 (Harvey testifying that he

did not know why “the Secretary selected an election system that the sole

cybersecurity advisor he put on his commission objected to”).

       Gabriel Sterling, the chief operations officer for the Secretary’s Office

(Curling, 2023 WL 7463462, at *3), testified that he did not know whether Secretary

Raffensperger had even read a report canvasing security vulnerabilities in Georgia’s

BMD system:

            Q. So the Secretary himself has not read it?
            A. I don’t know.
            Q. Well, you’re testifying on behalf of the Secretary’s office today as
      a corporate representative. So I’m asking –
            A. Yes, I am.
            Q. I’m asking you as a corporate representative, has the Secretary
      himself read this report?
            A. And my answer remains the same, that I don’t know.
            Q. Okay. And how would you find that out?
            A. I guess I would probably have to call him and ask him. It didn’t
      occur to me to ask him beforehand.

Resp. Ex. 5 at 28:11-29:3.

             2.     Secretary Raffensperger’s public statements

      Both before and after plaintiffs’ attempts to secure key testimony through

other witnesses Secretary Raffensperger made repeated public statements on specific

factual matters central to this case.

      For example, in January 2022, he stated that Dr. Halderman’s expert report is
                                        12
USCA11 Case: 23-14115        Document: 19       Date Filed: 12/29/2023   Page: 19 of 175


“not an objective, academic study by a non-biased actor” but rather contains

“assertions by an individual who is paid to espouse opinions supporting the

elimination of electronic voting systems to help a lawsuit brought by liberal

activists;” he further dismissed the report as flawed because Dr. Halderman had “full

access” to the Georgia Election system.4 In June 2023—after discovery in this case

revealed that the Coffee County breaches gave Cyber Ninjas and others full access

to the states election system—he still told the Georgia General Assembly that the

risks identified in Dr. Halderman’s report “are theoretical and imaginary.” Secretary

Brad Raffensperger, Remarks to the General Assembly: Setting the Election Security

Record Straight (June 20, 2023), https://sos.ga.gov/news/setting-election-security-

record-straight.

      In the same address he castigated Plaintiffs while insisting Georgia’s election

systems were secure because there is “punishment for those who break our laws.”

Id. Only Secretary Raffensperger can explain these and other specific factual

assertions about matters at the core of this case, e.g.:

       “The Halderman report was the result of a computer scientist having
        complete access to the Dominion equipment and software for three months
        in a laboratory environment.” Id.



4
 Ga. Sec’y of State Press Release, Secretary Raffensperger Calls on J. Alex
Halderman to Agree to Release “Secret Report” and Pre-Election Testimony (Jan.
27, 2022), https://sos.ga.gov/news/secretary-raffensperger-calls-j-alex-halderman-
agree-release-secret-report-and-pre-election.
                                           13
USCA11 Case: 23-14115        Document: 19       Date Filed: 12/29/2023   Page: 20 of 175



       “We have layers of security protocols and procedures to physically protect
        ballots, the system, the software, and the results. We have tests and audits
        to verify results.” Id.
       “It’s more likely that I could win the lottery without buying a ticket” than
        that bad actors could install malware on all 35,000 pieces of equipment
        systems to change election outcomes. Id.

      On December 6—the day before State Defendants moved to exclude

Secretary Raffensperger’s trial testimony as a “waste” of “time” (Pet. Ex. 7 at 10)—

he again made specific factual statements about the purported security of Georgia’s

voting system. He “affirm[ed] the security and integrity of elections,” including by

having in place “practices such as testing all voting machines to ensure they are

secure, conducting audits of ballots after every election to confirm the accuracy of

the results, and storing paper ballots in secure facilities to maintain a paper trail.”5

      Secretary Raffensperger and his Office have also made contradictory

statements concerning his Office’s awareness and mitigation of the Coffee County

breaches. As the district court observed, “[h]e initially stated that the Secretary of

State’s Office knew of the breach in January of 2021, but within minutes of so

stating, an aide corrected the Secretary of State’s response off camera and offered

May of 2021 as the correct date.” Curling, 2023 WL 7463462, at *26 n.45. Later,

“a representative with the Secretary of State’s Office clarified that the office did not


5
  Ga. Sec’y of State Press Release, Secretary Raffensperger Joins Colleagues in
Calling for Restored Trust in Electoral Systems (Dec. 6, 2023),
https://sos.ga.gov/news/secretary-raffensperger-joins-colleagues-calling-restored-
trust-electoral-systems.
                                           14
USCA11 Case: 23-14115       Document: 19      Date Filed: 12/29/2023   Page: 21 of 175


know about or began investigating Coffee County until July 2022.” Id. (citation

omitted).    The Secretary, on one hand, commented that “the individuals the

Secretary of State’s investigators had interviewed had not been truthful,” potentially

resulting in Chief Operating Officer Gabriel Sterling’s April 2022 statement that the

Coffee County breach simply “didn’t happen.”            Id. at *26.    Yet Secretary

Raffensperger “simultaneously maintained that the Secretary’s Office learned about

the breach early on and had been continuing to investigate the matter.” Id.6

      Contradictory statements from the Secretary and his official representatives

have not been limited to the Coffee County breaches. For example, when asked by

the House Select Committee to Investigate the January 6th Attack on the U.S.

Capitol if there was any way the voting machines could be hacked, he stated flatly,

“[t]hey haven’t been” while explaining “[t]he machines are secured” because there

is security tape that if broken would reveal any breach and testified that “there was

never any evidence of that.” Resp. Ex. 7 at 59-60. But the Secretary’s Office by

that time was aware of evidence that the seals on multiple BMDs had been violated

during the election, and that these machines had nonetheless been used on Election

Day. E.g., Resp. Ex. 9 (Nov. 5, 2020 Email to C. Harvey (Secretary of State’s

Elections Director) reporting voting machines with broken seals and missing zip ties



6
 Ryan Germany also identified mid-March 2022 as the start date for an investigation
into the Coffee County breaches. Resp. Ex. 6 at ¶21.
                                         15
USCA11 Case: 23-14115       Document: 19      Date Filed: 12/29/2023   Page: 22 of 175


in Fulton County); Resp. Ex. 10 (Nov. 10, 2020 email from C. Harvey discussing

photographs showing broken seals on BMDs in Hartwell, GA). The Secretary’s

30(b)(6) representative was unable to say what if any follow up actions were taken

from these reports. Resp. Ex. 1.1 at 50:9-50:15; 62:16-62:20.

             3.    Trial subpoena

      Unable to gather critical information about core matters at issue in their case—

and repeatedly told by state witnesses that only Secretary Raffensperger could

provide it—Plaintiffs issued him a trial subpoena. Pet. Ex. 6. State Defendants

asked for an order precluding the Secretary’s testimony, on the ground that he was

a high-ranking official whose testimony would be “cumulative.” Pet. Ex. 7 at 10.

      At a hearing to consider the State Defendants’ request, the district court noted

that it had “spared [Secretary Raffensperger] for a significant period of time when it

was not necessary to have him as a witness.” Pet. Ex. 1 at 122: 21-123:1. But the

court noted that “nothing else is going to replace” his testimony as “a central figure

in this case” and thus denied the motion. Pet. Ex. 1 at 123:1, 128:4. But the court

emphasized that it would “put time limits on” his testimony “to make sure that it is

not abusive.” Pet. Ex. 1 at 122:21-123:1.

      The court then issued a written order memorializing its decision. Pet. Ex. 9

at 5. The court recognized that to call the Secretary as a witness Plaintiffs had to

“show a special need or situation compelling such testimony.” Pet. Ex. 9 at 3


                                         16
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 23 of 175


(quoting In re United States, 985 F.2d 510, 512 (11th Cir. 1993)). But it noted that

a party can demonstrate such a special need when it shows that the high ranking

official has “‘direct personal factual information pertaining to material issues’ and

that the information ‘is not available from any other sources, such as lower-level

officials.’” Pet. Ex. 9 at 3 (quoting Fair Fight Action, Inc. v. Raffensperger, 333

F.R.D. 689, 693, 696-697 (N.D. Ga. 2019)). The special need showing is also

satisfied “where the high-level official is personally involved in the implementation

or oversight of a challenged law or policy.” Pet. Ex. 9 at 3-4 (citing Atl. J & Const.

v. City of Atl. Dep’t of Aviation, 175 F.R.D. 347, 348 (N.D. Ga. 1997) & Greater

Birmingham Ministries v. Merrill, 321 F.R.D. 406, 413 (N.D. Ala. 2017)).

      The court concluded that Plaintiffs had shown a special need here. It noted

that Secretary Raffensperger had made “numerous statements” on specific factual

matters at the core of this case, including “Dr. Halderman and his findings, the

Coffee County data system breach, and the resulting implications for the security of

the election system in Georgia.” Pet. Ex. 9 at 4. And some of these statements were

“inconsistent with other public statements from the Secretary of State’s Office about

when the[] State knew of the Coffee County breach and the steps it took to

investigate the breach.” Pet. Ex. 9 at 4. The Secretary had also made statements

about “the steps the State has taken to ensure the security of the voting system.” Pet.

Ex. 9 at 4. The district court found that all these statements “make clear that the

                                          17
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 24 of 175


Secretary—as the final decision maker and head of the department—has direct

personal factual information pertaining to material issues.” Pet. Ex. 9 at 4. And the

court found that “testimony surrounding the Secretary’s statements and final

decisions cannot be obtained from lower-level officials.” Pet. Ex. 9 at 4-5. The

court relied in particular on the fact that State Defendants’ Rule 30(b)(6) witnesses

had “indicate[d] that the Secretary was directly involved and was the final decision

maker concerning specific issues of election security.” Pet. Ex. 9 at 5 (citing Barnes

testimony).

      At the same time, the court recognized that “the Secretary has ‘greater duties

and time constraints than other witnesses.” Pet. Ex. 9 at 5 (quoting In re United

States, 985 F.2d at 512). It thus limited plaintiffs’ direct examination to 75 minutes

“absent serious reason to extend this timeframe.” Pet. Ex. 9 at 5. It also said it

would allow only one plaintiffs’ counsel to conduct the examination—leaving one

of the two plaintiffs groups in this case, who each maintain separate counsel, unable

to directly question the Secretary at all. Pet. Ex. 9 at 5. The court said it would

“determine the length of any re-direct permissible after hearing what, if any

testimony, defense counsel elicits from the Secretary.” Pet. Ex. 9 at 5.

              4.    Subsequent developments

      On December 21, Secretary Raffensperger filed this mandamus petition,

asking the Court to vacate its order compelling the Secretary to testify at trial, which


                                          18
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 25 of 175


will start on January 9. On December 22, he asked the district court for a stay of its

order directing him to testify pending this Court’s decision on the mandamus

petition. ECF No. 1751. On December 26, Plaintiffs filed a notice of non-opposition

to the stay request, explaining that given this Court’s expedited briefing schedule all

parties expected a decision on the mandamus petition before the start of trial on

January 9. ECF No. 1752.

                            STANDARD OF REVIEW
      A district court “has broad discretion in the management of the trial,” and this

Court “will not reverse a judgment based on the court’s trial management rulings

‘absent a clear showing of abuse.’” Walter Int’l Prods., Inc. v. Salinas, 650 F.3d

1402, 1408 (11th Cir. 2011) (citation omitted). “[T]he deference that is the hallmark

of abuse-of-discretion review requires that we not reverse an evidentiary decision of

a district court unless the ruling is manifestly erroneous. Thus, it is by now axiomatic

that a district court enjoys considerable leeway in making these determinations.”

United States v. Frazier, 387 F.3d 1244, 1258 (11th Cir. 2004) (en banc) (citations

& quotation marks omitted).

      Because the Secretary “has petitioned for mandamus” the standard he must

satisfy is “even more stringent.” In re Moody, 755 F.3d 891, 898 (11th Cir. 2014).

“[M]andamus is an extraordinary remedy, which is available only to correct a clear

abuse of discretion or usurpation of judicial power.” In re Lopez-Lukis, 113 F.3d


                                          19
USCA11 Case: 23-14115        Document: 19       Date Filed: 12/29/2023    Page: 26 of 175


1187, 1187-88 (11th Cir. 1997). “[A] party is not entitled to mandamus merely

because it shows evidence that, on appeal, would warrant reversal of the district

court.” In re BellSouth Corp., 334 F.3d 941, 953 (11th Cir. 2003). Rather, “[t]he

party seeking mandamus has the burden of demonstrating that its right to issuance

of the writ is clear and indisputable.” Id. (quotation marks omitted).

                                    ARGUMENT

      Secretary Raffensperger’s testimony is central to critical factual matters that

will be adjudicated at the upcoming trial, and there is no substitute for it. The district

court acted well within its broad trial management discretion in requiring his

testimony (while placing significant time constraints on it), and State Defendants

fall well short of satisfying the demanding standard required for mandamus relief.

The petition should be denied.

      A.     Plaintiffs Established A             “Special    Need”      for   Secretary
             Raffensperger’s Testimony

      “[I]n the Eleventh Circuit, there is no per se rule forbidding the deposition of

high-ranking government officials.” Fair Fight, 333 F.R.D. at 692 (quoting Davis

ex rel. J.D.D. v. Carroll, No. 8:16-CV-0998-T-35MAP, 2017 WL 11151858, at *2

(M.D. Fla. July 24, 2017)). But this Court requires parties seeking such testimony

to “show a special need or situation compelling” it. In re United States, 985 F.2d

510, 512 (11th Cir. 1993). When the same testimony is “available from alternate

witnesses,” the standard may not be satisfied. Id. But the flip-side is also true: “[t]he

                                           20
USCA11 Case: 23-14115        Document: 19     Date Filed: 12/29/2023   Page: 27 of 175


exceptional circumstances requirement is considered met ‘when high-ranking

officials have direct personal factual information pertaining to material issues in an

action’ and the ‘information to be gained is not available from any other sources,’

such as lower-level officials.” Fair Fight, 333 F.R.D. at 693 (quoting McDaniel v.

Bradshaw, No. 10-81082-CIV, 2011 WL 13150501, at *1 (S.D. Fla. May 23, 2011),

on reconsideration, No. 10-81082-CIV, 2011 WL 13150486 (S.D. Fla. June 8,

2011)) (some quotation marks omitted).

      In re United States and Fair Fight show how this standard is applied. In In re

United States, this Court granted mandamus to quash a subpoena issued by two

criminal defendants that would have required testimony from Dr. David Kessler,

commissioner of the federal Food & Drug Administration. 985 F.2d at 511-512.

The defendants wanted Dr. Kessler’s testimony to show that the FDA had “failed to

prosecute others similarly situated” to them. Id. at 511. The Court found his

testimony unnecessary: Dr. Kessler was not even the commissioner at the time the

FDA investigated the defendants’ case, and two other officials had already testified

on the subject at a hearing on defendants’ motion to dismiss. Id. at 512-513; see In

re USA, 624 F.3d 1368, 1373 (11th Cir. 2010) (testimony of Administrator of

Environmental Protection Agency unnecessary where government had offered

testimony of Assistant Administrator, who was the “most knowledgeable official”

about the relevant issue).

                                         21
USCA11 Case: 23-14115        Document: 19       Date Filed: 12/29/2023   Page: 28 of 175


      In Fair Fight, by contrast, the district court ordered testimony from Georgia

Governor Brian Kemp regarding subjects on which he had firsthand knowledge from

his time as Georgia Secretary of State. 333 F.R.D. at 698.7 For example, plaintiffs

sought information on his “interpretation” of the duties of the State Election Board

(which he chaired when Secretary of State) and how that interpretation “informed

his actions or inaction as Chair.” Id. at 695. More specifically, plaintiffs “questioned

why certain counties were not sanctioned for violations of the voting laws addressed

in [State Election Board] complaints.” Id. The court concluded that Governor Kemp

had to testify on these subjects because it was “clear from the testimony of the other

three [State Election Board] members that they [did] not have answers to such

questions.” Id. The court likewise found his testimony necessary on the State

Election Board’s “failure to timely investigate complaints,” a subject material to the



7
  Other district courts in this circuit have likewise applied the special needs test from
In re United States to find testimony by high-ranking officials necessary. See, e.g.,
Greater Birmingham Ministries v. Merrill, 321 F.R.D. 406, 413 (N.D. Ala. 2017)
(permitting deposition of Alabama Secretary of State in a case challenging voter
identification law “because he has been personally involved in implementing the
law” and made “numerous public statements regarding its rationale and effects”);
Celentano v. Nocco, No. 8:15-cv-1461-T-30AAS, 2016 WL 4943939, at *2-*3
(M.D. Fla. Sept. 16, 2016) (ordering sheriff to testify in employment discrimination
case because another witness testified that sheriff was the “final decision maker with
respect to the decision to terminate Plaintiff’s employment” and sheriff thus had
“some unique knowledge pertinent to the issues in the case”); Atl. J. & Const. v. City
of Atl. Dep’t of Aviation, 175 F.R.D. 347, 347-48 (N.D. Ga. 1997) (ordering
testimony from Atlanta mayor because he was “likely to possess pertinent,
admissible, discoverable information which can be obtained only from him”).
                                           22
USCA11 Case: 23-14115      Document: 19       Date Filed: 12/29/2023   Page: 29 of 175


plaintiffs’ claims. Id. at 697. “Nothing in the 30(b)(6) testimony [spoke] to these

precise questions,” and only “then-Secretary Kemp [could] explain why he decided

to call (or forgo) meetings when he did, and why he chose to schedule certain items

of discussion when he did.” Id. Finally, the court found Governor Kemp’s testimony

required on a public statement relevant to the case because only he could “explain

what he actually meant when he made the statement.” Id. at 696.8

      The case for Secretary Raffensperger’s testimony here is even stronger than

was the case for Governor Kemp’s testimony in Fair Fight. Here, witness after

witness testified that they were unable to provide information on key questions and

said that only Secretary Raffensperger could do so. See pp. 8-12, supra. For

example, Michael Barnes testified that he did not know why there had been no

forensic examination of DRE voting equipment or evaluation of Georgia’s voting

system by an election security expert and that those were decisions made by

Secretary Raffensperger. See pp. 9-10, supra; see also Curling, 2023 WL 7463462,


8
   State defendants have contended that the Fair Fight court required Governor
Kemp’s testimony only because “the very specific issue there were allegations
related to campaign speech that the plaintiffs insisted were evidence of intentional
discrimination for purposes of their 15th Amendment claim.” Pet. Ex. 2 at 124. But
as the summary above shows, the testimony was not limited to “campaign speech”;
it extended to the operations of the State Election Board and decisions that Governor
Kemp made while chairing it. And the court’s analysis did not turn at all on the
intent necessary to establish a 15th Amendment claim; instead, the driving “issue”
was whether Governor Kemp could “supply the information sought or stated another
way, whether the information sought is personal and unique to the Governor.” Fair
Fight, 333 F.R.D. at 693.
                                         23
USCA11 Case: 23-14115        Document: 19     Date Filed: 12/29/2023   Page: 30 of 175


at *5-*9 (district court summary judgment order canvassing “the vulnerabilities of

the previous DRE system (and why they are still relevant)” including using data from

the old ENET system to authenticate voters) (capitalization altered); Resp. Ex. 14

(Barnes directing county officials to reuse USB drives from the DRE system with

BMDs).

      Chris Harvey said he did not know why the Secretary’s Office chose a voting

system that tabulates votes based on a QR code rather than human readable text—a

decision at the heart of plaintiffs’ claims—and that “the decision was made by the

Secretary.” See pp. 11-12, supra; see also Curling, 2023 WL 7463462, at *5

(observing that “the QR barcodes used to tabulate votes” is a “central concern[]” in

this case); id. at *12-*13 (canvassing “concerns regarding QR code vulnerability to

alteration”) (capitalization altered).

      Gabriel Sterling said he did not know whether Secretary Raffensperger had

even read a key report showing the vulnerabilities in Georgia’s voting system and

that the only way to find out would be “to call him and ask him.” See p. 12, supra;

see also Curling, 2023 WL 7463462, at *37 (noting that the Department of

Homeland Security’s Cybersecurity & Infrastructure Security Agency “corroborated

many of the vulnerabilities identified in the Halderman Report, and indicated that

these vulnerabilities should be mitigated as soon as possible” but that “[t]here is

currently no evidence that the State has taken action to implement CISA’s

                                         24
USCA11 Case: 23-14115       Document: 19       Date Filed: 12/29/2023   Page: 31 of 175


recommended mitigation steps or otherwise responded to the vulnerabilities

identified by Dr. Halderman”).

      Secretary Raffensperger is also the only witness who can testify about what

he meant when he made public and highly specific factual assertions about matters

central to this case. See Fair Fight, 333 F.R.D. at 696 (governor ordered to testify

because only he could “explain what he actually meant when he made the

statement”). For example, why does Secretary Raffensperger believe that the

vulnerabilities identified in Dr. Halderman’s report are merely “theoretical and

imaginary”? See p. 13, supra. What are the “layers of security protocols and

procedures” he believes “physically protect ballots, the system, the software, and the

results” and what are the “tests and audits to verify [the] results”? See p. 14, supra.

Why did he tell Congress there was “no evidence” that any BMDs security seals

were violated despite numerous reports to the contrary? See pp. 15-16, supra. When

did the Secretary’s Office learn of (and begin responding to) the Coffee County

breaches? The Secretary and his representatives have at various times stated their

investigation began: (i) “early on” in 2021 before April of that year, (ii) during the

summer of 2021 when his Office replaced some of the voting equipment in Coffee

County, and (iii) in the spring or summer of 2022 after Plaintiffs brought the Coffee

County breaches to light through their own discovery efforts. See pp. 14-15, supra.

Which is it?

                                          25
USCA11 Case: 23-14115          Document: 19    Date Filed: 12/29/2023   Page: 32 of 175


      In sum, Secretary Raffensperger’s testimony on numerous issues at the heart

of this case is indispensable. On many key issues, his own staff, including Rule

30(b)(6) witnesses speaking on behalf of his Office, have testified that he is the only

witness who can provide the needed testimony. The district court thus correctly

ordered him to do so, while putting significant time limits on his testimony in

recognition of his position.

      B.     The Secretary’s Objections To The District Court’s Order Lack
             Merit

      The Secretary makes several arguments against being required to testify at

trial. None has merit, much less establishes the “clear and indisputable” entitlement

to relief required for mandamus. In re BellSouth Corp., 334 F.3d at 953.

      The Secretary remarkably claims that Plaintiffs “have not identified any

essential information uniquely in the Secretary’s possession that could not be

addressed” by other witnesses. Pet. 15. That is manifestly wrong. As discussed

above, defendants’ own witnesses identified essential information on a variety of

topics that was uniquely in Secretary Raffensperger’s possession, and they testified

that they could not address it. Plaintiffs made this same showing before the district

court. See Pet. Ex. 8 at 17-19 & n.11; cf. Pet. 7 (wrongly contending that “Plaintiffs

did not identify any specific items which they believed to be uniquely in the

Secretary’s personal knowledge”). And the district court relied on that showing in

ordering Secretary Raffensperger to testify. Pet. Ex. 9 at 4-5 (pointing to Plaintiffs’
                                          26
USCA11 Case: 23-14115         Document: 19       Date Filed: 12/29/2023    Page: 33 of 175


“evidence” that testimony about the Secretary’s “final decisions cannot be obtained

from lower-level officials” and pointing to the example of Barnes’ testimony “that

decision of whether to conduct a forensic exam of old system would be made by the

Secretary and Barnes was unaware if such an exam was ever considered”). The

Secretary offers no response at all to this central basis for the district court’s decision.

That is reason by itself to deny his petition.

       The Secretary next contends that the district court ordered him to testify

merely “because he made public statements about the general subject matter of the

lawsuit.” Pet. 4. As just discussed, that is wrong: the district court found that

Secretary Raffensperger possesses indispensable factual information that “cannot be

obtained” from other witnesses. Pet. Ex. 9 at 5. And in any event the Secretary’s

characterization of the statements is also incorrect. As the description above plainly

shows, see supra pp. 12-16, these were not mere “public statements about subject

matters squarely within [Secretary Raffensperger’s] portfolio.” Pet. 22. He made

many very specific factual assertions about matters at the heart of this case. As the

district court found, these statements involved, among other things, “Dr. Halderman

and his findings, the Coffee County data system breach, and the resulting

implications for the security of the election system in Georgia.” Pet. Ex. 9 at 4. As

the district court found, those statements “make clear” that the Secretary possesses

“direct personal factual information pertaining to material issues.” Pet. Ex. 9 at 4.

                                            27
USCA11 Case: 23-14115       Document: 19      Date Filed: 12/29/2023   Page: 34 of 175


And some of those statements “are inconsistent with other public statements from

the Secretary of State’s Office.” Pet. Ex. 9 at 4. Secretary Raffensperger’s testimony

is the only way to resolve the contradiction.

      The Secretary’s reliance on In re Paxton, 60 F.4th 252 (5th Cir. 2023), fails

for similar reasons. To start, the Fifth Circuit’s lead basis for granting mandamus

has no relevance here: the district court there had failed to discharge its “non-

discretionary duty” to address a pending motion to dismiss for lack of subject matter

jurisdiction before ordering the Texas attorney general to testify about his office’s

authority to enforce the state’s abortion laws. Id. at 257-258. The Fifth Circuit went

on to also conclude that the district abused its discretion in not quashing the

subpoena. Id. at 258. But that was because the district court had “conceded the

‘plain fact that lawyers at the Attorney General’s Office may articulate the Office’s

[enforcement] policies.’” Id. (brackets in original). So the Attorney General’s

testimony was not necessary: “by the [district] court’s own admission, if there is a

need to clarify the office’s enforcement policy, a representative can do so on the

Attorney General’s behalf.” Id. The Attorney General’s public statements about the

subject of the litigation changed nothing: his “‘thoughts and statements’ ha[d] no

bearing on his office’s legal authority to enforce Texas’s abortion laws or any other

law.” Id.




                                         28
USCA11 Case: 23-14115       Document: 19      Date Filed: 12/29/2023   Page: 35 of 175


      The situation here is completely different.       The district court has most

definitely not “conceded” that other witnesses could provide the relevant

testimony—it found the opposite. See Pet. Ex. 9 at 4-5 (pointing to Plaintiffs’

“evidence” that testimony about the Secretary’s “final decisions cannot be obtained

from lower-level officials”). Nor does this case involve a mere question of “legal

authority” on which the Secretary’s views are irrelevant. Instead, there are a series

of factual matters on which the Secretary alone can testify: for example, resolving

the conflict between his own statements and those of others in his Office regarding

his Office’s investigation of the Coffee County breaches, his own decision not to

order a forensic examination of the state’s voting system after it was breached, and

the security protocols he personally claims safeguard the system from intrusion. 9




9
  Other out-of-circuit authority cited by the Secretary is likewise inapposite because
it involved cases where, unlike here, the needed information was available from
other sources. See, e.g., Bogan v. City of Boston, 489 F.3d 417, 423-24 (1st Cir.
2017) (plaintiffs “did not pursue other sources to obtain relevant information before
turning to the Mayor”); Simplex Time Recorder Co. v. Sec’y of Labor, 766 F.2d 575,
587 (D.C. Cir. 1985) (“Simplex has not suggested any information in the possession
of these officials (regarding general enforcement proceedings) that it could not
obtain from published reports and available agency documents.”). In U.S Bd. of
Parole v. Merhige, 487 F.2d 25 (4th Cir. 1973), the discovery sought from the
government officials was not even relevant because the case “raise[d] only questions
of law and [the court of appeals] fail[ed] to see any necessity for extensive
evidentiary development.” Id. at 28. In re University of Michigan, 936 F.3d 460
(6th Cir. 2019), involved an issue not relevant here: a court’s authority to mandate
an official’s attendance at a settlement conference. Id. at 464 (discussing Fed. R.
Civ. Proc. 16).
                                         29
USCA11 Case: 23-14115        Document: 19       Date Filed: 12/29/2023   Page: 36 of 175


      Finally, the Secretary insinuates that Plaintiffs should be barred from calling

him to testify at trial because they did not depose him. Pet. 1, 20-21. Of course,

Secretary Raffensperger vigorously objected to any such deposition when Plaintiffs

first raised the possibility, see Pet. Ex. 3, and the district court deferred deciding on

Secretary Raffensperger’s testimony until Plaintiffs had the chance to secure

relevant information from other witnesses. Pet. Ex. 5 at 44:25. Plaintiffs endeavored

to do so, only to be told over and over again by witnesses from the Secretary’s Office

that only the Secretary could answer their questions. He had ample opportunity to

convey his knowledge and views to the witnesses designated to testify on his behalf

under Rule 30(b)(6) (including several who testified multiple times, some several

months apart), but the Secretary elected not to educate them. Plaintiffs should not

now be penalized for their diligent but ultimately unsuccessful efforts to establish

critical facts without Secretary Raffensperger’s testimony.

      Most fundamentally, the Secretary cites no authority for the proposition that

a deposition is a mandatory prerequisite before a plaintiff may call a named

defendant as a witness at trial. Nor would that make sense in this context where the

aim is to minimize the burden on high-ranking officials. If such officials could be

called to testify at trial only after being deposed as the Secretary seems to argue,

such a novel rule necessarily would subject high-ranking officials to multiple




                                           30
USCA11 Case: 23-14115        Document: 19      Date Filed: 12/29/2023   Page: 37 of 175


examinations. Here, Plaintiffs seek to examine the Secretary only at trial, having

saved him from the burden of a deposition as well.

                                            * * *

         Secretary Raffensperger’s representatives have repeatedly deferred to him

personally on questions central to this case. He has simultaneously made numerous

public comments about the same factual issues. The district court acted well within

its broad discretion when ordering that he should be subject to the “ultimate fact-

check” of testimony at trial.10

                                   CONCLUSION
         The petition should be denied.




10
     Brad Raffensperger, Integrity Counts 143 (2021).
                                          31
USCA11 Case: 23-14115      Document: 19      Date Filed: 12/29/2023   Page: 38 of 175


Dated: December 29, 2023                  Respectfully submitted,

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                                            Curling, Donna Price, & Jeffrey
                                            Schoenberg




                                        32
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 39 of 175




                          EXHIBITS
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 40 of 175



  IN RE: SECRETARY, STATE OF GEORGIA – No. 23-14115 (11th Cir.)
                 EXHIBITS TABLE OF CONTENTS
No.    Date       Dkt. No. Description
1      04/13/2022 1368-1   Excerpts from Deposition of
                           Chris Harvey on Jan. 28, 2022
1.1                 1634-54     Unredacted Excerpts from Deposition of
                                Chris Harvey on Jan. 28, 2022

2       04/13/2022 1368-2       Excerpts from Deposition of
                                Sanford Merritt Beaver on Feb. 2, 2022
3       04/13/2022 1368-3       Excerpts from Deposition of
                                Sanford Merritt Beaver on Mar. 10, 2022
4       04/13/2022 1368-4       Excerpts from Deposition of
                                Michael Barnes on Feb. 11, 2022

5       04/13/2022 1368-5       Excerpts from Deposition of
                                Gabriel Sterling on Feb 24. 2022
6       08/02/2022 1444-1       Ex. A to State Defendants’ Reply Re
                                Investigative Privilege
7       02/13/2023 1630-27      Ex. 77 to Plaintiffs’ Oppositions to
                                Defendants’ Motions for Summary Judgment
8       02/13/2023 1630-28      Ex. 78 to Plaintiffs’ Oppositions to
                                Defendants’ Motions for Summary Judgment
9       02/14/2023 1632-10      Ex. 160 to Plaintiffs’ Oppositions to
                                Defendants’ Motions for Summary Judgment
10      02/14/2023 1632-12      Ex. 162 to Plaintiffs’ Oppositions to
                                Defendants’ Motions for Summary Judgment
11      02/16/2023 1637         Excerpts from Plaintiffs’ Corrected Joint
                                Statement of Additional Facts in Support of
                                Plaintiffs’ Oppositions to Defendants’ Motions
                                for Summary Judgment
12      02/21/2023 1645         Excerpts from Deposition of Robert Gabriel
                                Sterling on Oct. 12, 2022
13      06/14/2023 1681         Excerpts from the Corrected Version of the
                                Expert Report of Dr. J. Alex Halderman
14                  892-11      PX 37 – Email Correspondence
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 41 of 175




                                Exhibit 1
    Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 1 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 42 of 175

                                                                  Page 1
                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

          DONNA CURLING, ET AL.,           )
                                           )
                Plaintiffs,                )
                                           )
          vs.                              )     CIVIL ACTION NO.
                                           )
          BRAD RAFFENSPERGER, ET           )     1:17-CV-2989-AT
          AL,                              )
                                           )
                Defendants.                )




            VIDEOTAPED 30(b)(6) DEPOSITION OF OFFICE OF THE
                           SECRETARY OF STATE
                    (through William "Chris" Harvey)

                     (Taken by the Curling Plaintiffs)

                                January 28, 2022

                                   8:40 a.m.




           Reported by:       Debra M. Druzisky, CCR-B-1848
    Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 2 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 43 of 175

                                                                  Page 2
     1                     APPEARANCES OF COUNSEL
     2    On behalf of the Curling Plaintiffs:
     3       DAVID D. CROSS, Esq.
             HANNAH ELSON, Esq.
     4       JENNA CONAWAY, Esq.
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     5       SONJA SWANBECK, Esq.
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    18    State and State Election Board:
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    Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 3 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 44 of 175

                                                                  Page 3
     1            APPEARANCES OF COUNSEL (Continued.)

     2    On behalf of the Defendant Fulton County Voter
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     3
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             (404) 612-4000
     6       david.lowman@fultoncountyga.gov

     7
          Also Present:
     8
             Krishan Patel, videographer
     9       Susan Greenhalgh
             Marilyn R. Marks
    10
                                   --oOo--
    11

    12

    13

    14

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    25
    Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 4 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 45 of 175

                                                                  Page 4
     1                       INDEX TO EXAMINATION

     2     Witness Name:                                           Page

     3     WILLIAM "CHRIS" HARVEY

     4         By Mr. Cross                                          8

     5         By Mr. Ichter                                       223

     6

     7

     8

     9                 INDEX TO PLAINTIFF'S EXHIBITS

    10       No.                   Description                     Page

    11    Exhibit 1       1-26-22, Curling Plaintiffs'               9
                          Second Amended Notice of
    12                    Deposition of Office of the
                          Secretary of State re: The
    13                    above-captioned action.

    14    Exhibit 2       LinkedIn profile re: Chris                35
                          Harvey.
    15
          Exhibit 3       (Exhibit not identified by
    16                    counsel.)

    17    Exhibit 4       State Defendants 101460 thru              44
                          461, 11-6-20, E-mail string from
    18                    Chris Harvey to Frances Watson
                          re: Violation.
    19
          Exhibit 5       State Defendants 101471 thru              61
    20                    473, 11-10-20, E-mail string
                          from Chris Harvey to Frances
    21                    Watson re: Security seals on
                          B.M.D.s.
    22
          Exhibit 6       State Defendants 108321,                  56
    23                    10-10-20, E-mail from David
                          Worley to Chris Harvey re: Hall
    24                    County.

    25
    Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 8 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 46 of 175

                                                                  Page 8
     1                  THE VIDEOGRAPHER:     Today's date is

     2           January 28th, 2022, and the time is 8:39

     3           a.m.    This will be the remote videotaped

     4           deposition of Chris Harvey.

     5                  Would counsel please introduce

     6           themselves and any objection to the

     7           witness being sworn in remotely.

     8                  MR. CROSS:    This is David Cross on

     9           behalf of Curling plaintiffs.

    10                  MR. ICHTER:    This is Cary Ichter on

    11           behalf of the Coalition plaintiffs.

    12                  MR. RUSSO:    This is Vincent Russo on

    13           behalf of the State defendants.

    14                  MR. LOWMAN:    This is David Lowman on

    15           behalf of Fulton County defendants.

    16                  THE VIDEOGRAPHER:     Would the court

    17           reporter please swear in the witness?

    18                      WILLIAM "CHRIS" HARVEY,

    19      having been first duly sworn, was examined and

    20      testified as follows:

    21                             EXAMINATION

    22      BY MR. CROSS:

    23           Q.     Morning, Mr. Harvey.

    24           A.     Good morning.

    25           Q.     Can you hear me okay?
    Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 9 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 47 of 175

                                                                  Page 9
     1           A.    I can.

     2           Q.    Do you understand that you are testifying

     3      on behalf of the Secretary of State's office today

     4      on a couple of specific topics?

     5           A.    I do, on a couple specific topics.

     6           Q.    All right.    And do you understand that

     7      that means that you're testifying to the

     8      Secretary's office's knowledge of information on

     9      those particular topics?

    10           A.    Yes.

    11           Q.    All right.

    12                              (Whereupon, Plaintiff's

    13                               Exhibit 1 was marked for

    14                               identification.)

    15      BY MR. CROSS:

    16           Q.    So let me, since you don't have Exhibit

    17      Share, tell me if you can see what's on the screen

    18      now.   It should be Exhibit 1.

    19           A.    I can, yes.

    20           Q.    Okay.    And you see that this is our second

    21      amended notice of deposition of the Office of the

    22      Secretary of State?

    23           A.    Yes.

    24           Q.    Have you seen this document before?

    25           A.    I don't believe so.
   Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 10 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 48 of 175

                                                                 Page 10
     1            Q.   Okay.   So let me jump to the topics.        And

     2      you were designated on two topics, topics 12 and

     3      18.    Do you see topic 12 up here?

     4            A.   I do.

     5            Q.   And it's:

     6                 "Communications with the U.S.

     7             Election Assistance Commission

     8             regarding any software changes

     9             involving Georgia's current election

    10            system or otherwise relating to any

    11            actual or contemplated request for

    12            E.A.C. approval for any aspect of

    13            Georgia's current election system."

    14                 And am I right that you're designated to

    15      testify on behalf of the Secretary's office on that

    16      topic today?

    17            A.   That's correct.

    18            Q.   What did you do to prepare yourself to

    19      testify on that topic?

    20            A.   I spoke with counsel and just went through

    21      my memory and recollection about communications

    22      with the E.A.C.

    23            Q.   Did you speak with anyone other than

    24      counsel for this topic?

    25            A.   No.
   Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 17 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 49 of 175

                                                                 Page 17
     1      hand-marked paper ballots, for example, as a

     2      primary means of voting?

     3           A.    Again, when I -- when I left the Secretary

     4      of State's office earlier this year, I was not

     5      aware of any discussions.       I'm not aware of any

     6      discussions since then.

     7           Q.    Okay.   If you wanted to know whether there

     8      have been consideration or discussions at the

     9      Secretary's office about potential changes to the

    10      current B.M.D. system, who would you ask?

    11           A.    I'd probably ask either Blake Evans, who's

    12      the current election director, or possibly Gabriel

    13      Sterling in the office also.

    14           Q.    And Blake Evans took over in your position

    15      after you left; is that right?

    16           A.    That's correct.

    17           Q.    Did he report to you before you left?

    18           A.    He did.    He was the deputy when I was the

    19      director.

    20           Q.    Do you know why the Secretary's office

    21      picked a Q.R. code system rather than one that

    22      tabulates human readable text for the election

    23      system?

    24           A.    I don't.

    25           Q.    Who would you ask if you wanted to know
   Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 18 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 50 of 175

                                                                   Page 18
     1      the answer to that question?

     2           A.    Well, ultimately, the decision was made by

     3      the Secretary.     I know there was a committee that

     4      was evaluating the systems.        I was not part of that

     5      committee.    I don't know if they offered

     6      recommendations or advice, but ultimately, it was

     7      the Secretary that made the decision.

     8           Q.    So if you wanted to understand why and how

     9      that decision was made, is the Secretary the person

    10      you would turn to for that?

    11           A.    For an ultimate answer, yes.        But I

    12      suspect that the members of his, you know, close

    13      advisors would have been part of that process.

    14      Ryan Germany, Gabriel Sterling, Jordan Fuchs

    15      probably -- I suspect had conversations.          I didn't

    16      have any conversations with them about that.

    17           Q.    Did anyone in the Secretary's office ever

    18      raise a concern about using Q.R. codes rather than

    19      human readable text to tabulate ballots?

    20           A.    Did anyone in the -- so member within the

    21      Secretary of State's office?

    22           Q.    Yes.

    23           A.    Okay.   I don't believe so.      I know in

    24      the -- when, actually, when -- before even

    25      Secretary Raffensperger took office, when we had
   Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 19 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 51 of 175

                                                                 Page 19
     1      started with the S.A.F.E. Commission, there were

     2      discussions with the S.A.F.E. Commission in the

     3      office about different kinds of systems and pros

     4      and cons.    But I don't believe anyone in the

     5      Secretary's office raised objections once the

     6      system was decided on.

     7            Q.   Were there concerns raised on that issue

     8      before that system was decided on in the

     9      Secretary's office?

    10            A.   Like I said, there were discussions about

    11      it.    There were, you know, pros and cons.         There

    12      were pros and cons of hand-marked versus B.M.D.s

    13      versus D.R.E.s.     So people spoke about, like I

    14      said, the pros and cons of the system.

    15                 So I, I believe that, you know, somebody

    16      would have, you know, raised a question or said,

    17      hey, with this you get this, but you also get that.

    18      But I can't think of any specific persistent

    19      objections that came about a Q.R. code.

    20            Q.   What were the cons that came up in any

    21      discussion regarding the current system?

    22                 MR. RUSSO:    Object to form.

    23                 THE WITNESS:     I think with the

    24            current system -- again, are we talking

    25            before the decision on the current system
   Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 20 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 52 of 175

                                                                 Page 20
     1           or since the current system?

     2      BY MR. CROSS:

     3           Q.    Either.    At any point that it's been

     4      discussed in the Secretary's office.

     5           A.    Well, I think that the one -- one of the

     6      issues about the system is that it's sort of, in a

     7      word, it's sort of bulky.        You've got, you know,

     8      multiple components.       You've got wires.      You've

     9      got -- it takes up a fair amount of space.

    10                 I don't think there was any concern with

    11      the -- with the way it operated.          I think people

    12      liked its operation and its user friendliness and

    13      things like that.

    14                 But it seems like the most common

    15      objection or issue we had to work around was the

    16      fact that it had, you know, what, five or six

    17      different pieces to it for every voting station.

    18                 We had maybe three or four, not -- maybe

    19      not five or six.      But you had the B.M.D.       You had

    20      the printer.     You had the external power source.

    21      You had cables connecting that stuff.           You had

    22      boxes to transport it back and forth in,

    23      safekeeping storage.       Those kinds of things were

    24      sort of concerns or issues we had to work around.

    25           Q.    You mentioned the S.A.F.E. Commission a
   Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 21 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 53 of 175

                                                                 Page 21
     1      moment ago.     Are you familiar with Wenke Lee, who

     2      was the only cybersecurity expert who served on

     3      that commission?

     4           A.    I'm familiar with him.       I don't, certainly

     5      don't know him personally.        But I spoke with him

     6      and heard him speak at S.A.F.E. Commission

     7      meetings.

     8           Q.    And do you recall that Wenke Lee objected

     9      to the State adopting a B.M.D. system?

    10           A.    I --

    11                 MR. RUSSO:    Object to form.      Object,

    12           excuse me, object to the form of the

    13           question.     Lacks foundation.

    14                 THE WITNESS:     I do remember.

    15      BY MR. CROSS:

    16           Q.    Okay.   In fact, he was vocal in saying

    17      that hand-marked paper ballots as a primary voting

    18      system would be the best, safest system for the

    19      State; right?

    20                 MR. RUSSO:    Object to form.

    21                 THE WITNESS:     I believe that's

    22           correct.     I know he -- I don't remember

    23           exactly what his position was on

    24           everything, but I know that he was a

    25           proponent of hand-marked paper ballots.
   Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 22 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 54 of 175

                                                                 Page 22
     1      BY MR. CROSS:

     2           Q.    Do you know why the Secretary selected an

     3      election system that the sole cybersecurity advisor

     4      he put on his commission objected to?

     5                 MR. RUSSO:    Object to the form of the

     6           question.

     7                 THE WITNESS:     I don't know why the

     8           Secretary chose that voting system.

     9      BY MR. CROSS:

    10           Q.    Who would you ask if you wanted to know

    11      why the Secretary chose an election system that his

    12      only cybersecurity advisor objected to?

    13                 MR. RUSSO:    Object to the form of the

    14           question.

    15                 THE WITNESS:     Well, I would clarify

    16           that the Secretary, then-Secretary Kemp

    17           convened the S.A.F.E. Commission and

    18           appointed the members, and Secretary

    19           Raffensperger sort of inherited the work

    20           that they did.

    21                 So I don't think that Mr. Lee was

    22           Secretary Raffensperger's cybersecurity

    23           expert, but -- I mean, I think you'd have

    24           to ask the person that made the decision.

    25      BY MR. CROSS:
   Case 1:17-cv-02989-AT Document 1368-1 Filed 04/13/22 Page 23 of 286
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 55 of 175

                                                                  Page 23
     1           Q.    Okay.    All right.    That's a fair point on

     2      the chronology.      But when you say "ask the person

     3      that made the decision," is that Secretary

     4      Raffensperger?

     5           A.    I think so.

     6           Q.    Okay.    What cybersecurity experts, if any,

     7      does Secretary Raffensperger rely on for evaluating

     8      the security of the election system?

     9                 MR. RUSSO:    Object to the form of the

    10           question.     Lacks foundation.

    11                 THE WITNESS:     Well, I know the

    12           primary office point of contact, and I

    13           assume this is the same, again, since I

    14           left, I'm not sure, but Merritt Beaver was

    15           our C.I.O., and he sort of coordinated

    16           multiple groups and people and

    17           cybersecurity defenses.

    18                 I know that we worked with Department

    19           of Homeland Security.       I know we worked

    20           with a company called Fortalice.         And I

    21           think he had some other individuals that

    22           he could bring in for specific issues or

    23           concerns or questions.

    24      BY MR. CROSS:

    25           Q.    Who were those individuals?
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 56 of 175




                                Exhibit 1.1
    Case 1:17-cv-02989-AT Document 1634-54 Filed 02/14/23 Page 6 of 27
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 57 of 175


                                                                     Page 50

1       statements or evidence about exactly what had gone
2       on if it was a significant issue.
3            Q.     So you respond to Ms. Watson in this
4       E-mail:
5                   "10-4, I assume you're
6             investigating."
7                   Do you see that?
8            A.     Yes.
9            Q.     And was there an investigation done of the
10      concern that was raised by Laura Jones here on
11      November 5th of 2020?
12           A.     I don't know.         I assume there -- I assume
13      there was.      This is certainly the kind of thing
14      that would have risen to the level of an
15      investigation.
16           Q.     Who would you ask if you wanted to know
17      whether there was an investigation done and what
18      the outcome was?
19           A.     Well, now I'd ask the current -- I think
20      it's the interim investigator.                His name is James
21      Callaway.     Frances Watson has moved on.                 She's no
22      longer there.       So I would ask Interim Chief
23      Investigator Callaway to -- he would be able to
24      give the status of any investigations.
25           Q.     When --

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
   Case 1:17-cv-02989-AT Document 1634-54 Filed 02/14/23 Page 12 of 27
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 58 of 175


                                                                      Page 62

1       on November 9, 2020, the description of the
2       violation is "many voting machines unlocked during
3       the day."
4                    Do you see that?
5              A.    Yes.
6              Q.    And the location is the Hartwell polling
7       place library.         Do you see that?
8              A.    Yes.
9              Q.    And there's a Twitter link here.                  And if
10      you read the whole context of the E-mail, you'll
11      see that whoever sent this in put up photos of
12      voting machines that were apparently, according to
13      this person, unlocked during the day.
14                   Do you see that?
15             A.    I see that.
16             Q.    Do you know whether there was an
17      investigation done in this situation?
18             A.    I don't know.         But again, this is one that
19      I would certainly expect an investigation to have
20      been done.
21             Q.    If you wanted to review any -- review the
22      investigation file, any report, and understand what
23      was done and what the findings were, who would you
24      ask?
25             A.    The current acting chief, Mr. Callaway.

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 59 of 175




                                Exhibit 2
    Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 1 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 60 of 175

                                                                  Page 1
                  IN THE UNITED STATES DISTRICT COURT

                 FOR THE NORTHERN DISTRICT OF GEORGIA

                             ATLANTA DIVISION


          _____________________________

          DONNA CURLING, ET AL.,

                      Plaintiffs,            CIVIL ACTION FILE
                                             NO. 1:17-CV-2989-AT
          vs.

          BRAD RAFFENSPERGER, ET AL.,

                    Defendants.
          _____________________________



                  VIDEO-RECORDED 30(b)(6) DEPOSITION

                      TAKEN VIA VIDEOCONFERENCE OF

                 GEORGIA SECRETARY OF STATES' OFFICE

                       BY: SANFORD MERRITT BEAVER

                                      AND

                          SANFORD MERRITT BEAVER

                        IN HIS PERSONAL CAPACITY

                           (Taken by Plaintiffs)

                             Atlanta, Georgia

                       Wednesday, February 2, 2022

                                  9:08 a.m.




                      Reported stenographically by
                V. Dario Stanziola, CCR (GA)(NJ), RPR, CRR
    Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 2 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 61 of 175

                                                                  Page 2
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     2    ON BEHALF OF THE PLAINTIFFS:
          (Appeared Via Videoconference)
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          and THE STATE ELECTION BOARD:
    10    (Appeared Via Videoconference)
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    Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 3 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 62 of 175

                                                                  Page 3
     1    APPEARANCES (Continued)
          (Appeared Via Videoconference)
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     7    Also Present:

     8                JONATHAN MILLER, Videographer

     9

    10

    11

    12

    13

    14

    15

    16

    17                VIDEO-RECORDED 30(b)(6) DEPOSITION

    18    TAKEN VIA VIDEOCONFERENCE OF GEORGIA SECRETARY OF

    19    STATES' OFFICE BY: SANFORD MERRITT BEAVER AND

    20    SANFORD MERRITT BEAVER IN HIS PERSONAL CAPACITY,

    21    a witness called on behalf of the Plaintiffs,

    22    before V. Dario Stanziola, CCR (GA)(NJ), RPR,

    23    CRR, with the deponent located in Atlanta,

    24    Georgia, on Wednesday, February 2, 2022,

    25    commencing at 9:08 a.m.
    Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 4 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 63 of 175

                                                                     Page 4
     1                     INDEX OF EXAMINATIONS
     2
     3
          By Mr. Cross                             PAGE          7
     4
     5
                             INDEX OF EXHIBITS
     6
           NUMBER            EXHIBIT                      MARKED
     7
           Exhibit 1: Curling Plaintiffs' Second            10
     8     Amended Notice of Deposition of
           Office of the Secretary of State
     9
           Exhibit 2: Declaration of Merritt                23
    10     Beaver
    11     Exhibit 3: Declaration of S. Merritt             68
           Beaver
    12
           Exhibit 4: LinkedIn Printout of                  94
    13     Merritt Beaver's profile page
    14     Exhibit 5: Atlanta                               112
           Journal-Constitution article entitled
    15     Case files discredit Kemp's
           accusation that democrats tried to
    16     hack Georgia election
    17     Exhibit 6: E-mail string with the top            115
           from Kevin Robertson dated 7/1/2020
    18
           Exhibit 7: E-mail string with the top            129
    19     from Kay Stimson dated 12/2/2020
    20     Exhibit 8: ImageCast X ballot marking            135
           device document
    21
           Exhibit 9: Document entitled                     141
    22     Information Technology Security
           Program Charter
    23
           Exhibit 10: Document entitled                    146
    24     Fortalice Solutions Web Vulnerability
           Remediation Checks Secretary of State
    25     Georgia Draft - July 14, 2020
   Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 14 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 64 of 175

                                                                 Page 14
     1    there was malware on it, if it at any way managed

     2    to get to a new platform, it would be inert,

     3    meaning it would have no capabilities in the new

     4    environment.     Because based on this question, the

     5    malware was targeting the old election system,

     6    which was Windows-based using access database

     7    application.

     8                 One of the smartest things that the

     9    Georgia Secretary of State did was we moved to a

    10    system that was completely different, meaning it

    11    didn't use the same operating system, did not use

    12    the application prior used, which means that

    13    anything that was targeting that system would be

    14    inert in a new system.       But even knowing that, we

    15    did make sure that it didn't exist.

    16          Q.    Okay. Let me -- we'll come back to that

    17    answer.    But let me come back to the question I

    18    asked you.    What did you do to prepare to testify

    19    on topic 1A?

    20          A.    I validated with my team that we built

    21    out a whole different system not connected at any

    22    reason or physically or electronically to the old

    23    system.    We had no components of the old system,

    24    no software, no data, no anything.          And the

    25    reason was the two systems were so different
   Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 15 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 65 of 175

                                                                 Page 15
     1    there was absolutely nothing in the old system

     2    that was useful in the new system.          So there was

     3    no reason to move any of that stuff over there.

     4    The old system was old equipment.         We didn't need

     5    to use any old equipment.        We started fresh.        And

     6    there was nothing on the old system that was

     7    needed in the new system.        So there was no effort

     8    to even try to connect the two.         Because it would

     9    have made no value, added no value.

    10           Q.   When you say you validated this with

    11    your team what did you do to validate that?

    12           A.   I met with my team, met with the people

    13    that were actually hands on doing it, the work,

    14    and validated this is the process we follow.

    15           Q.   When did you do that?

    16           A.   Probably at least two or three weeks

    17    ago.   Well -- and I -- we did it a long time ago

    18    when we actually did the move.         We met and talked

    19    about how we were going to do it.         That was back

    20    when we actually built out the new system.           We

    21    did a whole plan as to how we would built --

    22    would build it out.      There was conversation of is

    23    there anything needed from the old system?           The

    24    answer was no.     Do we need any of the data on the

    25    system?     No.   So there was no effort to even try
   Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 52 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 66 of 175

                                                                  Page 52
     1    anyone in the Secretary's office?

     2          A.    I would have expected to because I

     3    would have been asked to help investigate how it

     4    happened.

     5          Q.    Okay.

     6          A.    We manage security.       That would be an

     7    event.     And we would go through our whole

     8    incident response process to investigate how

     9    something like that would have happened.           So I

    10    would have expected to hear.

    11          Q.    Okay.   And what did you do to prepare

    12    yourself to testify on topic ten today?

    13          A.    To prepare for that?       I asked -- I

    14    asked a couple people here within our

    15    organization in the elections area whether or not

    16    they'd heard anything about this.         I didn't hear

    17    anything.

    18          Q.    Who did you ask?

    19          A.    They didn't say -- over in elections --

    20    I mean, I think the head of elections, Blake

    21    Evans, is over there.

    22          Q.    Anyone else?

    23          A.    I guess I -- I've asked around.         I

    24    don't remember the people, just poking at people

    25    that might have heard something.         And within our
   Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 53 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 67 of 175

                                                                 Page 53
     1    security group we have a couple -- three people

     2    over there in that group which I talked about

     3    Ronnell Spearman, Kevin Fitts.         They're -- they

     4    had not heard anything.       So...

     5          Q.    Is there anyone else you talked to

     6    about topic ten that comes to mind?

     7          A.    No.

     8          Q.    Okay.   Did you review any documents in

     9    preparation for your testimony on any of the

    10    topics you're designated on?

    11          A.    Just my prior depositions and

    12    testimony.

    13          Q.    When you say deposition, you mean your

    14    prior declarations in this case?

    15          A.    I guess I'm not sure whether they were

    16    declarations or depositions.

    17          Q.    Okay.

    18          A.    I didn't -- they were just documents

    19    that were -- the legal team gave me as areas

    20    where -- or events where I was recorded, whether

    21    it be court transcriptions or depositions or

    22    declarations.     So it was three or four of them.

    23          Q.    Okay.   But those documents all

    24    contained testimony that you gave in -- in some

    25    form; is that fair?
   Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 108 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 68 of 175

                                                                Page 108
     1    right?

     2          A.    Correct.

     3          Q.    And Fortalice found vulnerabilities

     4    with each of those two systems.         But, again, no

     5    evidence that data had been altered or extracted;

     6    is that right?

     7          A.    Correct.    And both were fixed.

     8          Q.    Right.

     9                And measures were taken by the

    10    Secretary's office sometime in that weekend when

    11    this issue came to light to -- to mitigate both

    12    of those vulnerabilities; is that right?

    13          A.    Yes.    My best -- well, I know we fixed

    14    the stuff right away that weekend, so...

    15          Q.    Okay.    Did you -- were you given an

    16    opportunity to review any of the public

    17    statements that the Secretary's office put out or

    18    any communications with the press about those

    19    incidence before those statements were made?

    20          A.    Not that I recognize -- I mean,

    21    remember.    I mean, I focus on the IT

    22    infrastructure press releases and all that media

    23    kind of stuff is handled by the Secretary's front

    24    office.

    25          Q.    Okay.    And was there ever a time in the
   Case 1:17-cv-02989-AT Document 1368-2 Filed 04/13/22 Page 183 of 259
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 69 of 175

                                                                Page 183
     1    times in the last four years, four or five years.

     2          Q.    When was the decision made to move away

     3    from E-Net?

     4          A.    Last year.

     5          Q.    Who made that decision?

     6          A.    Front office.

     7          Q.    And by front office who do you mean?

     8          A.    Secretary.

     9          Q.    Oh, Secretary Raffensperger?

    10          A.    Yes.   Those kind of decisions, it comes

    11    down to him to make the call.         We present

    12    proposals and it's up to him to say yay, nay.

    13          Q.    What --

    14          A.    It's a big decision.

    15          Q.    Sorry.

    16          A.    Yeah, that was a big, big decision.

    17          Q.    What were those specific reasons that

    18    he decided to move -- to replace E-Net?

    19          A.    One was the age, one was the ability

    20    for us to get, like this, certain fixes put in

    21    place that we wanted to see.        Some of it was

    22    security related, some was just functionality

    23    related.    The application was built I think like

    24    in 2012 when we first purchased it.          And the --

    25    but the actual application was probably built a
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 70 of 175




                                Exhibit 3
    Case 1:17-cv-02989-AT Document 1368-3 Filed 04/13/22 Page 1 of 180
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 71 of 175

                                                                Page 260
             IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


          DONNA CURLING, ET AL.,                  )
                                             )
          Plaintiffs,                         )
                                             ) Civil Action No.
          vs.                                     )
                                             ) 1:17-CV-2989-AT
          BRAD RAFFENSPERGER, ET AL.,             )
                                             )
          Defendants.                         )




          VIRTUAL VIDEOTAPED 30(b)(6) DEPOSITION OF

                      SANFORD MERRITT BEAVER

                     Thursday, March 10, 2022

                             9:09 a.m.

                  VOLUME II (Pages 260 - 439)



                Robin K. Ferrill, CCR-B-1936, RPR
    Case 1:17-cv-02989-AT Document 1368-3 Filed 04/13/22 Page 2 of 180
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 72 of 175

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    Case 1:17-cv-02989-AT Document 1368-3 Filed 04/13/22 Page 3 of 180
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 73 of 175

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    10
                JILL CONNORS, Legal Assistant, Ichter Davis, LLC
    11
                MARILYN MARKS, Executive Director
    12          SUSAN GREENHALGH, Consultant
                Coalition for Good Governance
    13
                KEVIN SKOGLUND, Citizens for Better Elections
    14
                Jonathan Miller, Videographer
    15

    16

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    Case 1:17-cv-02989-AT Document 1368-3 Filed 04/13/22 Page 4 of 180
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 74 of 175

                                                                Page 263
     1                                INDEX

     2           VIRTUAL VIDEOTAPED 30(b)(6) DEPOSITION OF

     3                       SANFORD MERRITT BEAVER

     4                      Thursday, March 10, 2022

     5    EXAMINATION BY                                            PAGE

     6    By Mr. Cross                                                268

     7    By Mr. Havian                                               394

     8    By Mr. Denton                                               433

     9
                            DESCRIPTION OF EXHIBITS
    10
          EXHIBIT               IDENTIFICATION                      PAGE
    11

    12    Exhibit 1     Fortalice Solutions Technical                 268

    13                  Assessment Prepared for Secretary

    14                  of State Georgia, DRAFT - May 19,

    15                  2020, Bates labeled

    16                  FORTALICE003593 - FORTALICE003624

    17    Exhibit 2     Fortalice Solutions Firmware                  311

    18                  Comparison and Configuration

    19                  Analysis, Secretary of State

    20                  Georgia, DRAFT - July 9, 2020,

    21                  Bates labeled FORTALICE003807 -

    22                  FORTALICE003811

    23

    24

    25
   Case 1:17-cv-02989-AT Document 1368-3 Filed 04/13/22 Page 135 of 180
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 75 of 175

                                                                Page 394
     1          Q.    All right.

     2                MR. CROSS:    I don't have any further

     3          questions for you, Mr. Beaver.        I understand

     4          another lawyer for some other Plaintiffs will

     5          ask you some questions.

     6                But thank you.     I appreciate you taking the

     7          time.

     8                THE WITNESS:    Okay.    Can we take two

     9          minutes so I can see who's at the front door?

    10                MR. HAVIAN:    Yes.   Actually, let's take ten

    11          minutes because I want to pull stuff together

    12          and then we will go back on the record and I

    13          will be finishing up with you.        Okay?

    14                THE WITNESS:    Thank you.

    15                THE VIDEOGRAPHER:     The time is 12:04.      We

    16          are off the record.

    17                (WHEREUPON, a recess was taken.).

    18                THE VIDEOGRAPHER:     The time is 12:14.      We

    19          are back on the record.

    20    EXAMINATION

    21    BY MR. HAVIAN:

    22          Q.    Good afternoon, or I guess it's just

    23    afternoon your time, Mr. Beaver.        This is -- my name

    24    is Eric Havian and I am appearing for the Coalition

    25    for Good Governance.      We have a total of an hour and
   Case 1:17-cv-02989-AT Document 1368-3 Filed 04/13/22 Page 136 of 180
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 76 of 175

                                                                Page 395
     1    14 minutes that we are allotted to question you, but

     2    I know it's lunchtime back there.         So I'm going to

     3    ask do you guys -- are you okay just going through

     4    and finishing or would you prefer to take a break and

     5    get something to eat?

     6          A.    I prefer just finishing.

     7          Q.    Okay.   That's what most witnesses prefer to

     8    do, but I figured I would give you the choice.

     9                MR. DENTON:    Eric, before you continue, I

    10          just have -- have you made an appearance in this

    11          case?

    12                MR. HAVIAN:    Yes, I have a pro hac vice

    13          application that's currently pending.

    14                MR. DENTON:    Okay.    So you haven't made an

    15          appearance?

    16                MR. HAVIAN:    We checked the rules.       It's

    17          our understanding of the rules in Georgia that I

    18          don't need to make a formal appearance.          If I

    19          have made a pro hac vice application, that

    20          serves as my Notice of Appearance.

    21                MR. DENTON:    That's fine.     I just wanted to

    22          understand.

    23                MR. HAVIAN:    Yes.    I presume you should be

    24          served at some point electronically with the pro

    25          hac application I filed.
   Case 1:17-cv-02989-AT Document 1368-3 Filed 04/13/22 Page 137 of 180
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 77 of 175

                                                                Page 396
     1                MR. DENTON:    Yes, I saw the application.        I

     2          just haven't seen anything further.

     3                Thank you.

     4                MR. HAVIAN:    You are welcome.

     5                (Plaintiffs' Exhibit 11, Curling

     6          Plaintiffs' Fifth Amended Notice of Deposition

     7          of Office of the Secretary of State, marked for

     8          identification.)

     9          Q.    (By Mr. Havian) Okay.      Mr. Beaver, let's

    10    jump right in.      I would like to have you take a look

    11    at Exhibit 11.

    12          A.    Okay.

    13          Q.    Which is a Notice of Deposition.        And the

    14    pages, at least on my copy, do not appear to be

    15    numbered.    But if you could -- if you could scroll

    16    down to Topic Number 10, which is about

    17    three-quarters of the end of the document.

    18          A.    Does it start with any instance in 2020 and

    19    2021?

    20          Q.    Correct.    That says "Any instance in 2020

    21    or 2021, within the knowledge of the Secretary of

    22    State's Office, when a person or entity other than an

    23    authorized election worker or Georgia state or county

    24    official obtained voting data from a Georgia election

    25    or images of voting equipment used in a Georgia
   Case 1:17-cv-02989-AT Document 1368-3 Filed 04/13/22 Page 138 of 180
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 78 of 175

                                                                Page 397
     1    election."

     2                Do you see that?

     3          A.    Yes.

     4          Q.    That's going to be the primary area of my

     5    focus today.      Are you prepared to address that issue

     6    today?

     7          A.    I can answer to my knowledge.

     8          Q.    Have you taken any steps to gather

     9    knowledge of any other persons in the Georgia

    10    Secretary of State's Office about this issue?

    11          A.    No.

    12          Q.    Okay.   I believe it was yesterday or

    13    perhaps the evening before yesterday, Mr. Bruce

    14    Brown, counsel for the Coalition, sent an e-mail to

    15    Mr. Russo and Mr. Miller asking that you, in

    16    particular, focus on a particular aspect of Issue

    17    Number 10.    And I'll read that to you.        It says "That

    18    examination will focus primarily on the events

    19    discussed in the audio recording marked as Exhibit 12

    20    and played at the deposition of Gabriel Sterling

    21    involving the imaging of election hardware and

    22    software in Coffee County.       Please ensure that the

    23    witness is prepared to address that aspect as well as

    24    the other aspects of Issue 10."

    25                I guess my question is, are you aware --
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 79 of 175




                                Exhibit 4
    Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 1 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 80 of 175

                                                                  Page 1
            IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


          DONNA CURLING, ET AL.,

                Plaintiffs,
                                  CIVIL ACTION FILE
          vs.                       NO. 1:17-CV-2989-AT

          BRAD RAFFENSPERGER, ET AL.,

                Defendants.




                VIDEOTAPED ZOOM DEPOSITION OF
                        MICHAEL BARNES

                       February 11, 2022
                           9:04 A.M.



          Lee Ann Barnes, CCR-1852B, RPR, CRR, CRC
    Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 2 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 81 of 175

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    Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 3 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 82 of 175

                                                                  Page 3
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                Krishan Patel, Videographer
    12          Danielle Hernandez
                Marilyn Marks, Representative Coalition for
    13          Good Governance
                Susan Greenhalgh, CGT Consultant
    14

    15

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    Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 4 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 83 of 175

                                                                    Page 4
     1                       INDEX OF EXAMINATION

     2    WITNESS:    MICHAEL BARNES

     3    EXAMINATION                                        PAGE
          By Mr. Cross                                         9
     4

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    Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 8 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 84 of 175

                                                                  Page 8
     1                  Deposition of MICHAEL BARNES
                             February 11, 2022
     2

     3                (Reporter disclosure made pursuant to

     4          Article 8.B of the Rules and Regulations of the

     5          Board of Court Reporting of the Judicial

     6          Council of Georgia.)

     7                VIDEOGRAPHER:     Today's date is

     8          February 11, 2022, and the time is 9:04 a.m.

     9          This will be the remote videotaped deposition

    10          of Michael Barnes.

    11                Will counsel please introduce themselves

    12          and any objection to the witness being sworn in

    13          remotely.

    14                MR. CROSS:     This is David Cross of

    15          Morrison & Foerster on behalf of the Curling

    16          plaintiffs.

    17                MS. LaROSS:     Diane LaRoss on behalf of the

    18          State defendants and Mr. Barnes.         We also have

    19          Danielle Hernandez on the line with us from our

    20          team.

    21                MR. LOWMAN:     And this is David Lowman on

    22          behalf of the Fulton County defendants.

    23                MS. MARKS:     This is Marilyn Marks,

    24          plaintiffs' representative, Coalition for Good

    25          Governance.
    Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 9 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 85 of 175

                                                                  Page 9
     1          MICHAEL BARNES, having been first duly sworn,

     2    was examined and testified as follows:

     3          EXAMINATION

     4          BY-MR. CROSS:

     5          Q.    Good morning, Mr. Barnes.

     6          A.    Good morning, Mr. Cross.        How are you?

     7          Q.    Good.    How are you?

     8          A.    I'm doing well.      Happy Friday.

     9          Q.    I'm sure this is the way you always want

    10    to spend a Friday; right?

    11          A.    Well, I could probably think of some

    12    better things to do, but, alas, we have to take care

    13    of this.

    14          Q.    We do.

    15                All right.     You've been deposed before.

    16    In fact, I think you may have been deposed in this

    17    case years ago, so you've been through this before.

    18                Do you understand that today you're

    19    testifying on behalf of the Secretary of State's

    20    office as what we call a corporate representative?

    21          A.    Yes, sir, that's my understanding.

    22          Q.    You understand that you are here to

    23    testify on behalf of the Secretary of State's office

    24    on specific topics; is that right?

    25          A.    Yes, sir.    Yes, sir.
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 10 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 86 of 175

                                                                 Page 10
     1          Q.    Okay.    Do you have Exhibit Share open in

     2    front of you?

     3          A.    I have access to it.        One second.

     4                So yes, sir.

     5          Q.    All right.     So pull up Exhibit 1, please.

     6                (Plaintiffs' Exhibit 1 was marked for

     7          identification.)

     8                THE WITNESS:     Under which folder?

     9    BY MR. CROSS:

    10          Q.    Oh, go down to -- you'll see "Deposition

    11    of Michael Barnes 2/11."

    12          A.    Actually, I don't see that.        I see 2/16,

    13    2/3, 2/4, 2/9.

    14          Q.    Weird.

    15                So if you come down, you see where it says

    16    "Deposition of Merritt Beaver," and then immediately

    17    below that "Michael Barnes"?        Or I don't know, maybe

    18    you can only see certain things.

    19                You don't have a Michael Barnes 2/11/2022?

    20          A.    I do not.    I have Gabriel Sterling 2/16,

    21    Michael Barnes 2/3, Michael Barnes 2/4, Michael

    22    Barnes 2/9.

    23                MR. CROSS:     All right.    Let's go off the

    24          record.

    25                VIDEOGRAPHER:     The time is 9:07 a.m.       We
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 11 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 87 of 175

                                                                 Page 11
     1          are off the record.

     2                (Off the record.)

     3                VIDEOGRAPHER:     The time is 9:12 a.m.

     4          We're on the record.

     5    BY MR. CROSS:

     6          Q.    All right.     Mr. Barnes, you have

     7    Exhibit 1?

     8          A.    Yes, sir, I do.

     9          Q.    All right.     So take a look at Exhibit 1 in

    10    front of you.

    11                And do you understand that you are

    12    designated to testify today on Topic 1?

    13          A.    Yeah, I remember seeing a list of topics

    14    in which I was designated as being the one that

    15    would speak.

    16          Q.    Okay.   So just read through Topic 1, the

    17    subparts a through h, and tell me if you're prepared

    18    to testify on that topic today.

    19                MS. LaROSS:     And, David, we're going to be

    20          reserving all objections except those to the

    21          form of the question or responsiveness of the

    22          answer until trial; is that correct?

    23                MR. CROSS:     Yeah, that's the default under

    24          the federal rules, yeah.

    25                MS. LaROSS:     Sure.   And I just -- you
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 12 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 88 of 175

                                                                 Page 12
     1          know, we go into each deposition and often say

     2          it or don't, but I just wanted to clarify --

     3                MR. CROSS:     Okay.

     4                MS. LaROSS:     -- we just have that standing

     5          agreement with you guys.        That's -- I just

     6          wanted the record to be clear.

     7                MR. CROSS:     Okay.

     8                THE WITNESS:     I've looked at the items in

     9          point 1a through h, and those are the items I

    10          am familiar with, yes, sir.

    11    BY MR. CROSS:

    12          Q.    Okay.   Then go on to Topic 2, please, and

    13    let me know if you're prepared to testify on that

    14    today.

    15                MS. LaROSS:     David, I believe David

    16          Sterling is designated for 2c.

    17                MR. CROSS:     Okay.   Great.    That's right.

    18          Sorry.

    19    BY MR. CROSS:

    20          Q.    So, Mr. Barnes, just look at 2a, b, and d.

    21          A.    2a, b, and d, I -- I believe I'm prepared

    22    to testify on those items.

    23          Q.    Okay.   And then look at Topics -- just to

    24    make sure -- yeah, look at Topics 7 through 11, so

    25    7, 8, 9, 10, and 11, and let me know if you're
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 13 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 89 of 175

                                                                 Page 13
     1    prepared to testify on those topics today.

     2          A.     Yes, sir, I believe I'm prepared.

     3          Q.     And then the last one is Topic 18, the

     4    last one in the list, and let me know if you're

     5    prepared to testify on that, too, please.

     6                 MS. LaROSS:    It's my understanding, David,

     7          that that one -- that topic was -- we

     8          designated David Sterling, Merritt Beaver, and

     9          Chris Harvey.

    10                 MR. CROSS:    Sorry.

    11                 MS. LaROSS:    And some of the topics in the

    12          7 --

    13                 MR. CROSS:    Yeah, that's right.      Sorry.

    14          Yeah.

    15                 MS. LaROSS:    Okay.    No -- no worries.

    16                 And some of the topics in 7 through 11 we

    17          also designated either Mr. Sterling or

    18          Mr. Beaver, but there is certainly overlap with

    19          Mr. Barnes.

    20                 MR. CROSS:    Yeah.     Okay.

    21                 MS. LaROSS:    Great.    Thank you.

    22    BY MR. CROSS:

    23          Q.     Mr. Barnes, what did you do to prepare to

    24    testify on these topics today?

    25          A.     I have met with our attorneys.
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 14 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 90 of 175

                                                                 Page 14
     1          Q.    And when did you do that?

     2          A.    Let's see.     In multiple occasions.       Met

     3    with attorneys last week in preparation for

     4    deposition and also, I believe, a couple of weeks

     5    prior to that.

     6          Q.    Okay.   About how many hours would you say

     7    you spent preparing?

     8          A.    Let's see.     Last week, I was here in the

     9    law office for, I believe, three and a half hours.

    10    In the previous visit to the attorneys' office, that

    11    was another two- to three-hour meeting.

    12                And this list of items had been provided

    13    to me to look over and, you know, keep my memory

    14    fresh on these items to the best of my ability.

    15          Q.    Okay.   And did you review any documents to

    16    prepare for these topics?

    17          A.    The only documents that I've looked over

    18    in preparation are previous records in the case,

    19    previous -- I think some of my previous deposition,

    20    reviewed that and other filings, I think, a couple

    21    of times where I testified in court.          Those

    22    documents I reviewed.

    23          Q.    Did you look, for example, at -- at emails

    24    or documents from the Secretary's office?

    25          A.    I did not go through a list of the emails
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 15 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 91 of 175

                                                                 Page 15
     1    that I maintain in my Secretary of State inbox

     2    looking for specific topic emails, no, sir.

     3          Q.    Okay.   Did you speak with anyone other

     4    than counsel to prepare on those topics?

     5          A.    No.   I've only spoken with counsel.

     6          Q.    All right.     Look at Topic 1 if you've got

     7    that in front of you, please.

     8          A.    Sure.

     9          Q.    And if you look at 1a.

    10                Walk me through the efforts that have been

    11    made to determine whether malware has ever been

    12    located on any component of Georgia's prior election

    13    system, the DRE system.

    14          A.    With the prior voting system, the system

    15    that was used in the state from 2002 through, what,

    16    2018, that system was constantly being inspected and

    17    tested to make sure that what was installed at the

    18    local levels matched what had been federally

    19    certified and state certified throughout the years.

    20                My office, the Secretary of State's

    21    office, whenever we were out in the field, in the

    22    counties, any opportunity that we had to sit down at

    23    the Election Management computer, we would do a -- a

    24    verification test based upon hash signatures on the

    25    applications to validate that what was installed on
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 33 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 92 of 175

                                                                 Page 33
     1    and accuracy testing on the old DRE system.

     2                Is there other testing that was done to

     3    look for malware or some other compromise of the DRE

     4    system, to your knowledge?

     5          A.    I -- I do not recall at this moment.

     6          Q.    Do you know why the Secretary's office

     7    never performed any forensic examination of any of

     8    the DRE voting equipment or the -- or the servers,

     9    the GEMS servers?

    10                MS. LaROSS:     Objection to the form of the

    11          question.

    12                THE WITNESS:     No, sir, I do not.

    13    BY MR. CROSS:

    14          Q.    Who would make that decision on whether to

    15    conduct that type of examination?

    16          A.    I believe that would be a decision that

    17    would be made by the Secretary.

    18          Q.    Do you know if there was ever discussion

    19    or consideration of that type of examination of the

    20    old system?

    21          A.    I do not know.

    22          Q.    Who would you ask if you wanted to know?

    23          A.    I -- I would ask, most likely, our general

    24    counsel.

    25          Q.    Is that Ryan Germany?
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 296 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 93 of 175

                                                                Page 296
     1          that it's accessible to our voters, and that it

     2          is reflective of what the voters wish to purvey

     3          to the State when an election takes place.

     4    BY MR. CROSS:

     5          Q.     Can you identify one cybersecurity

     6    election expert that has endorsed the current

     7    Georgia system as a reliable voting system?

     8          A.     I cannot.

     9          Q.     Is voter confidence in that system

    10    important?

    11          A.    Voter confidence in all that we do as the

    12    elections divisions important.         It's important that

    13    they have confidence in the people that run

    14    elections.    It's important that they have confidence

    15    in the systems that we use.        It's important that

    16    they have confidence in the voter registration

    17    system.

    18                And we work day in and day out doing what

    19    we can to secure the system that we have.

    20          Q.    But if you're confident that the system is

    21    secure, particularly in an environment now where

    22    there have been extraordinary claims made about the

    23    reliability of that system, why not just have an

    24    election security expert analyze it, examine it, and

    25    offer an opinion on whether it's reliable?
   Case 1:17-cv-02989-AT Document 1368-4 Filed 04/13/22 Page 297 of 309
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 94 of 175

                                                                Page 297
     1                MS. LaROSS:     I object to the form of the

     2          question.

     3                THE WITNESS:     I'm sure if the

     4          Secretary of State decided that he wanted to do

     5          that, that that would get done.

     6    BY MR. CROSS:

     7          Q.    And as you sit here, you don't know why

     8    he's not decided that; right?

     9                MS. LaROSS:     I object to the form of the

    10          question.

    11                THE WITNESS:     I do not.

    12    BY MR. CROSS:

    13          Q.    Do you think voters would have more

    14    confidence in a system that did not use QR codes,

    15    where what was getting tabulated, they could

    16    actually read for themselves?

    17                MS. LaROSS:     I object to the form of the

    18          question.

    19                THE WITNESS:     I don't know.     Voters have

    20          confidence in systems, and it seems like in

    21          today's environment, voters only have

    22          confidence in systems that -- where the people

    23          that they supported in the election won and

    24          they don't have -- they don't have good

    25          confidence in systems when their candidate of
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 95 of 175




                                Exhibit 5
    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 1 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 96 of 175

                                                                  Page 1
                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

          DONNA CURLING, ET AL.,           )
                                           )
                Plaintiffs,                )
                                           )
          vs.                              )     CIVIL ACTION NO.
                                           )
          BRAD RAFFENSPERGER, ET           )     1:17-CV-2989-AT
          AL,                              )
                                           )
                Defendants.                )




           VIDEOTAPED 30(b)(6) DEPOSITION OF GABRIEL STERLING

                            (Taken by Plaintiffs)

                              February 24, 2022

                                   9:07 a.m.




           Reported by:       Debra M. Druzisky, CCR-B-1848
    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 2 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 97 of 175

                                                                  Page 2
     1                     APPEARANCES OF COUNSEL
     2    On behalf of the Curling Plaintiffs:
     3       DAVID D. CROSS, Esq.
             HANNAH ELSON, Esq.
     4       JENNA CONAWAY, Esq.
             LOGAN WREN, Esq.
     5       SONJA SWANBECK, Esq.
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     7       2100 L Street NW, Suite 900
             Washington, D.C. 20037
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    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 3 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 98 of 175

                                                                  Page 3
     1            APPEARANCES OF COUNSEL (Continued.)
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    11
    12    On behalf of the Defendant Fulton County Voter
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    13
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             141 Pryor Street, Suite 4038
    15       Atlanta, Georgia 30303
             (404) 612-4000
    16       david.lowman@fultoncountyga.gov
    17
          Also Present:
    18
             Chris Bennett, videographer
    19       Susan Greenhalgh
             Marilyn R. Marks
    20       Duncan Buell
             Philip Stark
    21
                                   --oOo--
    22
    23
    24
    25
    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 8 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 99 of 175

                                                                   Page 8
     1                THE VIDEOGRAPHER:      All right.     This

     2          will be the deposition of Gabriel Sterling

     3          in the case of Curling versus

     4          Raffensperger, File Number

     5          1:17-CV-2989-AT.      Today's date is February

     6          24th, 2022, and the time is 9:07 a.m.          And

     7          we are on the record.

     8                Would the court reporter please swear

     9          in the witness?

    10                        GABRIEL STERLING,

    11     having been first duly sworn, was examined and

    12     testified as follows:

    13                            EXAMINATION

    14     BY MR. CROSS:

    15          Q.    Good morning, Mr. Sterling.

    16          A.    Good morning, Mr. Cross.

    17                (Whereupon, a technical discussion

    18           ensued off the record.)

    19     BY MR. CROSS:

    20          Q.    All right.     Mr. Sterling, I understand

    21     you've been deposed before, I think relatively

    22     recently, in fact, so this will be similar to your

    23     prior experience.

    24                You -- do you understand that you're here

    25     to testify today on behalf of the Secretary of
    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 9 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 100 of 175

                                                                   Page 9
     1     State's office on specific topics that they've

     2     designated you on?

     3          A.    Yes.

     4          Q.    Okay.    And do you have the Exhibit Share

     5     in front of you?

     6          A.    I do.

     7                              (Whereupon, Plaintiff's

     8                               Exhibit 1 was marked for

     9                               identification.)

    10     BY MR. CROSS:

    11          Q.    Okay.    Can you pull up Exhibit 1, please?

    12          A.    Okay.

    13                MR. RUSSO:     Hey, David, I don't mean

    14          to interrupt, but I'm just going to raise

    15          one quick issue here.        You guys are going

    16          to split, I understand Bruce said you all

    17          are splitting time today?

    18                Okay.    So you guys figured that out.

    19          I just wanted to make sure it was -- we

    20          were clear that that was our understanding

    21          also --

    22                MR. CROSS:     Yeah.

    23                MR. RUSSO:     -- before we got started.

    24          Okay.

    25                THE WITNESS:     I've got Exhibit 1
    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 26 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 101 of 175

                                                                  Page 26
     1     hand-marked paper ballot could be double-marked if

     2     you had a bad actor.

     3                So most of these vulnerabilities I've

     4     heard about, generally speaking.          I don't know if

     5     that's what it says in this report, but as I said,

     6     I've generally heard before, it requires bad actors

     7     doing bad things.

     8                So as long as you have the mitigation in

     9     place, this may -- again, both process and

    10     personnel-wise, you are -- you can mitigate most

    11     vulnerabilities.      Because every system in the world

    12     has vulnerabilities, especially ones that involve

    13     human beings.      Because human beings are the

    14     biggest, you know, failure point of any system.

    15          Q.    So I gather no one has told you that Judge

    16     Totenberg authorized the Secretary of State's

    17     office to review Dr. Halderman's July report and

    18     that she authorized that weeks or months ago;

    19     nobody told you that?

    20          A.    No.   I was aware that that happened and

    21     that Ryan Germany in our office reviewed it.

    22          Q.    But were -- you're not aware before now

    23     that she has not restricted that report to

    24     attorneys' access in the Secretary's office; is

    25     that right?
    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 27 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 102 of 175

                                                                  Page 27
     1          A.    I don't believe I said that.         I said we

     2     were aware that, you know, that Ryan Germany, he's

     3     in our office and he reviewed it.

     4          Q.    Well, Ryan Germany is a lawyer; right?

     5          A.    But he's inside of our office.

     6          Q.    Right.    But you testified earlier you had

     7     not read it because you understood it was limited

     8     to lawyers.

     9          A.    Early on, yes.      Now, you asked me over the

    10     whole period of time.       I'm not -- it's not relevant

    11     to what I'm working on now.         I'm the C.O.O.     I'm

    12     not the voting system implementation manager now.

    13                But I also, as I said before, have a basic

    14     belief and understanding of what I've seen from

    15     most reports like these where, outside of the

    16     specifics, that most of them have to involve around

    17     bad actors doing bad things, and that's just, that

    18     is not rocket science to figure out.           It's not any

    19     major thing that I've seen.

    20                And I'm sure that there are things in

    21     every computer system that can be shored up in some

    22     way, shape or form.       And I'm sure that Dominion,

    23     who is the manufacturer of these things, is working

    24     on those things.      I believe they have access to the

    25     report as well now, too.
    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 28 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 103 of 175

                                                                  Page 28
     1          Q.    Okay.    So is it now your testimony you do

     2     understand that the report is no longer limited to

     3     lawyers for the Secretary of State's office; is

     4     that right?

     5          A.    That is correct.      I didn't say that I -- I

     6     said -- I talk to my lawyers and say you need to

     7     read it?     I'm not worried -- I wasn't really

     8     worried about it yet, because it's nothing that I'm

     9     directly working on right now in that particular

    10     function.

    11          Q.    Who at the Secretary's office has read the

    12     report now?

    13          A.    As far as I understand it, Ryan Germany.

    14          Q.    So the Secretary himself has not read it?

    15          A.    I don't know.

    16          Q.    Well, you're testifying on behalf of the

    17     Secretary's office today as a corporate

    18     representative.      So I'm asking --

    19          A.    Yes, I am.

    20          Q.    I'm asking you as a corporate

    21     representative, has the Secretary himself read this

    22     report?

    23          A.    And my answer remains the same, that I

    24     don't know.

    25          Q.    Okay.    And how would you find that out?
    Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 29 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 104 of 175

                                                                  Page 29
     1          A.    I guess I would probably have to call him

     2     and ask him.       It didn't occur to me to ask him

     3     beforehand.

     4          Q.    And has Jordan Fuchs read the report?

     5          A.    As I stated, the only person I'm aware of

     6     reading the report in our office is Ryan Germany.

     7          Q.    And so in preparation for today's

     8     deposition, you didn't ask anyone in the office

     9     other than Mr. Germany whether they had read this

    10     report; is that right?

    11          A.    I didn't ask Mr. Germany.        He informed me

    12     a couple weeks ago when he read it, I believe.             So

    13     it wasn't a question of me asking him if he had

    14     done it.     He said, hey, I read it.       I said, oh,

    15     okay.

    16          Q.    So in preparation for today, you didn't

    17     ask anyone at all whether they had read it?

    18          A.    No.   I wasn't under the impression I would

    19     need to.

    20          Q.    Okay.    Don't you need to understand the

    21     specific vulnerabilities identified in the report

    22     to be sure that you mitigate them?

    23          A.    Me personally?      I don't think that I would

    24     need to, because that's not necessarily my role.

    25     Dominion, who is our contractor, we have a contract
   Case 1:17-cv-02989-AT Document 1368-5 Filed 04/13/22 Page 161 of 383
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 105 of 175

                                                                Page 161
     1          A.    To me it's kind of an ongoing process.

     2     Because I'm dealing with them all the time on

     3     different things that were tangential or con --

     4     directly substantive to this.

     5                But probably, you know, well over a month

     6     ago, probably two months ago, if not even before

     7     that to a degree.       Because we knew this was -- I

     8     think at that point we'd -- I don't know if I was

     9     "named" named as the 30(b)(6) for this, but we knew

    10     it was a likelihood that I would be called for some

    11     of these kind of things, so just kind of refreshing

    12     my memory on some of the stuff we'd done previously

    13     and then kind of going over some of the specifics.

    14          Q.    Is there anyone you met with or spoke with

    15     to prepare for your testimony today beyond

    16     Mr. Beaver, Mr. Germany, Mr. Barnes, Mr. Evans or

    17     counsel?

    18          A.    Not specifically, no.       And to -- but I

    19     could have met with people that some of their

    20     information might feed some of the responses to

    21     this, but it wasn't specifically for that purpose.

    22          Q.    Okay.    And what did you discuss with

    23     Mr. Beaver to prepare for today?

    24          A.    If memory serves, we were really talking

    25     about operating systems, you know, noting that the
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 106 of 175




                                 Exhibit 6
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 1 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 107 of 175




       EXHIBIT A
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 2 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 108 of 175




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

 DONNA CURLING, et al.,

       Plaintiffs,
                                              CIVIL ACTION
 v.

 BRAD RAFFENSPERGER, et al.,                  FILE NO. 1:17-cv-2989-AT

       Defendants.


                     DECLARATION OF RYAN GERMANY

      I, Ryan Germany, declare under penalty of perjury that the following

statements are true and accurate to the best of my knowledge.

Background

      1.    I am the General Counsel for the Office of the Georgia Secretary of

State. I have held that position since January 2014. My job responsibilities

include providing legal advice and guidance to all divisions of the Secretary of

State’s Office, including the Elections Division. I also work closely with the

State Election Board. I routinely interact with county election officials.

Investigations Division

      2.    One of the divisions of the Secretary of State’s office is the

Investigations Division. That Division has 24 investigators that oversee

matters concerning elections, charities, securities, professional licensing,
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 3 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 109 of 175




corporations, and cemeteries. All of the investigators in the Investigations

Division are certified peace officers by the Georgia Peace Officer Standards and

Training (POST) Council. As POST-certified law enforcement officers,

Secretary of State investigators carry weapons and can make arrests.

      3.    In the course of an investigation, Secretary of State investigators

gather pertinent information, conduct relevant interviews, and report findings

to the governmental entity which authorized or referred the investigation to

our office. Those entities include the State Election Board, various Professional

Licensing Boards, the Secretary of State (in his capacity as Securities

Commissioner), the Attorney General’s office, and various local prosecutors.

      4.    The investigations the Secretary’s office conducts may result in

civil enforcement actions pursued by the relevant entity and/or criminal

prosecution pursued by the appropriate prosecuting authority.

      5.    In addition to attending to investigations referred by Georgia

governmental entities, the Secretary’s investigators also work with other

investigative authorities within and outside of Georgia who often seek non-

public information for purposes of their investigations and/or joint

investigations with those entities. Some of those authorities include the

Federal Bureau of Investigation, the Georgia Bureau of Investigation, Sheriffs’




                                       2
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 4 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 110 of 175




Offices within and outside Georgia, Securities Divisions of other states,

Securities and Exchange Commission, and local District Attorneys.

Coffee County initial investigation

      6.    Coffee County had three separate complaints investigated by the

Secretary’s office after the 2020 election, all under the designation SEB 2020-

250 (Coffee County).

      7.    First, on December 4, 2020, Coffee County advised they were not

going to certify their electronic recount numbers, blaming the Dominion

system for creating inaccurate election results. Second, the then-Coffee County

elections supervisor, Misty Martin (also referred to as Misty Hampton) posted

a video on YouTube showing ways she said the elections software could be

manipulated and exposing the password of the EMS. Third, a voter submitted

a request for an absentee ballot but did not receive it until 25 days later.

      8.    After investigation, the office concluded that Ms. Martin failed to

keep ballots in batches, failed to follow training she received about the

operation of the scanner, and that the video she created was misleading and

designed to create doubt and mistrust in the Dominion voting system. The

investigation also revealed that Ms. Martin also failed to follow SEB rules

regarding the locking of doors to the room where the EMS was located, even

though the office itself was locked from the public, and securing the password.

                                        3
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 5 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 111 of 175




      9.    Ms. Martin was removed as supervisor while the investigation was

pending and the case was bound over to the Attorney General’s office.

Allegations after the 2020 elections

      10.   After the 2020 presidential election, Scott Hall made a number of

allegations about the administration of elections in Georgia.

      11.   For example, he signed a sworn affidavit filed in Wood v.

Raffensperger, Case No. 1:20-cv-04651-SDG (N. D. Ga.) on November 17, 2020,

alleging that he observed ballots “giving the impression that they were never

folded into an envelope and mailed” and that those ballots “appeared to be pre-

printed with the selections already made.” Wood Doc. 6-18 at ¶ 3. He also

alleged that ballots were bubbled in “perfectly” and that “[h]undreds of ballots

at a time were counted for Biden only.” Id. He also made allegations about the

setup of tables and a bag in an area that he said was not visible to security

cameras. Wood Doc. 6-18 at ¶ 4.

      12.   The next month, Mr. Hall testified to the Election Law Study

Subcommittee of the Standing Senate Judiciary Committee on December 3,

2020 along with Russell Ramsland, Phil Waldron, and Suzie Voyles. During

the hearing, Mr. Hall testified that “the referee [referring to Dominion] got

paid off to call the game,” that he “was told to leave the World Congress Center”

after trying to photograph what he said were unsecured bag of ballots, and

                                       4
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 6 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 112 of 175




again discussed the ballots he believed were “machined-produced” and

“pristine.” See Report of the Election Law Study Subcommittee of the Standing

Senate Judiciary Committee, pp. 6–7, 11 (Dec. 30, 2020), available at

http://www.senatorligon.com/THE_SENATE%20JUDICIARY%20SUBCOMM

ITTEE_FINAL%20REPORT.PDF

       13.   In mid-March 2022, well after SEB 2020-250 was bound over to

the Attorney General’s office, I was provided a recording of a phone call with

Mr. Hall by the Secretary’s outside counsel in the Curling case.

       14.   On that call, Mr. Hall and Marilyn Marks, the director of the

Coalition for Good Governance, discuss a variety of topics, including claims by

Mr. Hall that the fact that a Dominion employee was from Nigeria was

suspicious, given his beliefs about the history of Nigerians engaging in credit

card fraud and internet computer hacks, then tying that to Dominion covering

up information with Nigerians through contracts with counties.

       15.   Mr. Hall also found it suspicious that a Dominion employee whom

he described as a young Hispanic lady was “roaming around” in Fulton County

and “disappeared” after he mentioned Dominion’s home office in Colorado to

her.

       16.   After saying he didn’t believe anyone in Fulton County about

elections, claiming they threw away ballots—and almost an hour into the call—

                                      5
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 7 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 113 of 175




Mr. Hall mentions in passing that he chartered “a jet” to go to Coffee County

to “scan every freaking ballot.” He then said that no one had issued a report,

despite the same people going to Michigan had “scanned all the equipment”

and “every single ballot” and that Mr. Hall had gotten no feedback from the

team.

        17.   He then claimed Ms. Martin showed him where her daughter

watched Netflix on the Coffee County Poll Pads.

        18.   The total time where Coffee County is being discussed in the one

hour, 22 minute, and 55 second call constitutes about three minutes.

        19.   The recording had not been turned over to our lawyers or to the

Secretary’s office prior to March 2022 and the Secretary’s office was not on

notice of Mr. Hall’s allegations until receiving the recording.

        20.   Based on filings in this case regarding that recording and

testimony from a “Cyber Ninja” that he reviewed both the Coffee County and

Fulton County election software, we have also received complaints that Fulton

County elections was “breached.”

Re-Opening the Coffee County investigation

        21.   After reviewing the recording and discussing with our lawyers in

this case, I asked our Investigations Division to open an investigation into the




                                        6
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 8 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 114 of 175




allegation that Mr. Hall told Ms. Marks regarding Coffee County. That was

also in mid-March, 2022.

      22.   Given the type of allegations and the fact that the person asserting

these claims had made many other allegations that were not factually

supported regarding the 2020 election, our office determined to first undertake

a forensic evaluation of the server at issue to see what information could be

gathered by that route.

      23.   We first contacted Dominion to see if they could assist us gain

access to the server to conduct a forensic investigation in or around March 25,

2022. Despite involving Dominion engineering staff, Dominion was ultimately

unable to gain access to the server.

      24.   In and around the same time period, I was also having discussions

with Coffee County’s attorneys. They were aware of the allegations by Mr. Hall

and had been looking into them as well.

      25.   Because we believed that a forensic evaluation would greatly assist

in determining truth from falsity in these claims prior to interviewing

witnesses (some of whom who have made numerous allegations regarding the

2020 election in Georgia that have not turned out to be supported by the facts),

we determined that we would bring in the consulting expert in this case to

assist in the forensic inspection of the server. Without disclosing investigative

                                       7
     Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 9 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 115 of 175




sources and methods, that investigation has been fruitful and I believe the

information gathered will assist our investigators as they interview witnesses

and gather other relevant information.

      26.   Despite this process beginning in mid-March 2022, on or around

April 24, 2022, it was brought to my attention that a case file had not been

created in our investigations tracking system even though the investigation

was ongoing, and I had requested one to be opened. I believe this occurred

because the Deputy Chief Investigator whom I had asked to open the

investigation left our office shortly after the request was made and did not

complete the tracking system update prior to leaving. When I learned the

tracking system had not been updated as requested, I asked the current

Deputy Chief Investigator to document the re-opening of the investigations

aspect of SEB 2020-250 (Coffee County) because the new allegations seemed

related to that existing case. That occurred on April 25, 2022.

      27.   The investigation into Coffee County has been re-opened since

March 14, 2022 and remains ongoing.

      28.   Our next steps are to complete the forensic investigation and to

interview witnesses.

      29.   Based on our investigation so far, we have also asked the Georgia

Bureau of Investigation (GBI) to assist with the investigation.

                                       8
    Case 1:17-cv-02989-AT Document 1444-1 Filed 08/02/22 Page 10 of 10
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 116 of 175




        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that

  the foregoing statements are true and accurate to the best of my knowledge,

  information, and belief.




                                    C. Rya
                                    Office                 cretary of State
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 117 of 175




                                 Exhibit 7
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 1 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 118 of 175




                EXHIBIT 77
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 2 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 119 of 175

         Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 2 of 149
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         1

         2

         3

         4

         5    SELECT COMMITTEE TO INVESTIGATE THE

         6    JANUARY 6TH ATTACK ON THE U.S. CAPITOL,

         7    U.S. HOUSE OF REPRESENTATIVES,

         8    WASHINGTON, D.C.

         9

        10

        11

        12    INTERVIEW OF:     BRAD RAFFENSPERGER

        13

        14

        15

        16                                 Tuesday, November 30, 2021

        17

        18                                       Washington, D.C.

        19

        20

        21          The interview in the above matter was held in Room 4480, O'Neill House Office

        22    Building, commencing at 10:01 a.m.

        23           Present:   Representatives Schiff, Lofgren, Raskin, Aguilar, Cheney, and Kinzinger.
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 3 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 120 of 175

         Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 3 of 149
                                                                              2




         1

         2    Appearances:

         3

         4

         5

         6    For the SELECT COMMITTEE TO INVESTIGATE

         7    THE JANUARY 6TH ATTACK ON THE U.S. CAPITOL:

         8   - C H I E F INVESTIGATIVE COUNSEL

         9                     PROFESSIONAL STAFF

        10                     CHIEF CLERK

        11                   INVESTIGATIVE COUNSEL

        12                   SENIOR INVESTIGATIVE COUNSEL

        13    AND OF COUNSEL TO THE VICE CHAIR

        14   -DETAILEE

        15                       STAFF ASSOCIATE

        16                       CHIEF ADMINISTRATIVE OFFICER

        17                      RESEARCHER

        18

        19    For the OFFICE OF GEORGIA SECRETARY OF STATE:

        20    JACKSON R. SHARMAN, Ill

        21    ROBERT JAY SEWELL

        22    GIL HUMES, SECURITY FOR MR. RAFFENSPERGER
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 4 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 121 of 175

         Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 6 of 149
                                                                                                             5




         1                                            EXAMINATION

         2                    BY

         3            Q     You are currently the secretary of state of Georgia, correct?

         4            A     Correct.

         5            Q     And when did you get sworn into that position?

         6            A     January 2019.

         7            Q     And when does your current term end?

         8            A     January 2023.

         9            Q     And you're also a licensed professional engineer?

        10            A     Correct.

        11            Q     Okay.      And are you also currently the owner and CEO ofTendon Systems?

        12            A     Yes.

        13            Q     And how long have you had that position?

        14            A     Since its inception.

        15            Q     Which was roughly when?

        16            A     Roughly 2007.

        17            Q     Okay.      Could you just in very general terms describe what the roles and

        18    responsibilities are for the secretary of state in Georgia?

        19            A     The secretary of state is charged with oversight for corporations, securities,

        20    charities, and professional licensing, and then obviously elections.    And then we have

        21    some organizations that are administratively attached to us, but we don't have really

        22    oversight of those.

        23            Q     Okay.      And we'll be focusing today obviously on your election

        24    responsibilities.    And in regard to elections, what are -- what could have been some of

        25    your priorities as secretary of state regarding elections?
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 5 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 122 of 175

         Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 7 of 149
                                                                                                                6




         1            A     When I took office in January 2019, number one is to secure new voting

         2    machines with a verifiable paper ballot due to a court order that we could not use the old

         3    DRE machines anymore.          And then part of that was to be able to join the Electronic

         4    Registration Information Center so we could update voter rolls objectively.

         5            Q     Okay.      So can you -- I know you're an engineer, but in layman's terms, can

         6    you sort of describe, with regard to the November 2020 election in particular, how the

         7    mechanics of voting worked both for in-person voting, and then, secondly, for absentee

         8    ballots?

         9            So if you're a typical voter, you go in.   Just describe for us what the machine is

        10    like and what a voter would do.

        11            A     So if you showed up to vote in the fall election of 2020, we had the new

        12    verifiable paper ballot.     So if you showed up to vote, you would, first of all, have a new

        13    poll pad.   And the poll pad is not connected to any other piece of equipment, but they're

        14    really to sign you in.     And then you would get your little card, which now has been

        15    activated, which then you walk over several steps to the ballot marking device.

        16            The ballot marking device was a machine that does not record any information,

        17    but, in effect, will show you all the selections on the screen.    It looked like a giant 11 by

        18    17 iPad, so to speak.      You made all your selections, verified your selections.   And then

        19    you could go ahead, once you verified your selections, print the ballot.

        20            Then that machine, in effect, was just to print the ballot.    It was not connected to

        21    the internet or anything else like that.

        22            You then would have your paper ballot.        You could review your paper ballot.

        23    You walk that over to the scanner, put that on the scanner, and then press the button,

        24    and that's when your ballot would be scanned.

        25            Q     And then what happens after that?
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 6 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 123 of 175

        Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 19 of 149
                                                                                                           18




         1          Q       Okay.      So in advance of the November 3rd, 2020, election, the Trump

         2   campaign did not complain about any allegations of fraud or failure to follow State law or

         3   anything like that?

         4              A   Not that I recall.

         5          -                I'll pause here.

         6          -                   Yeah, just a couple followups.

         7                    BY-:

         8          Q       You said something earlier, Mr. Secretary, about no-excuse absentee ballot.

         9   Do I correctly understa nd that to mean the voter didn't need a reason, didn't need an

        10   illness or a professional commitment to get an absentee ballot, he or she could get

        11   it regardless?

        12              A   Correct.     That's current State law.

        13          Q       Okay.      And that, is that a change from the way it used to be, or has it

        14   always been that way?

        15              A   It's always been t hat since it was put into effect in 2005.   It was signed into

        16   law by Governor Sonny Perdue.

        17          Q       I see.   So a voter had three options, either an absentee ballot without

        18   necessary -- necessarily having a reason, an early in-person vote, or just like the

        19   old-fashioned way, going to a polling place on election day.

        20              A   Correct.

        21          Q       I see.   But all three of those ballots -- each three of those choices generated

        22   a paper ballot for that voter.

        23              A   Correct.

        24          Q       And it went through one of those sca nning machines.

        25              A   Correct.
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 7 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 124 of 175

        Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 20 of 149
                                                                                                             19




         1           Q      I see.   So every ballot in the State of Georgia, regardless of the mode of

         2   transmission, generated a paper record and went through one of the same kinds of

         3    machines?

         4           A      Correct.

         5           Q     And it sounds like what you said earlier is that those machines were new

         6   after the 2018 election.

         7           A     Yes.

         8           Q     You replaced the old ones that didn't generate a paper ballot with new ones

         9   that did.    Is that right?

        10           A      Correct.       It was the fastest and the largest implementation of new voting

        11    machines in the entire country.

        12           Q     Yeah.       And that was true, Mr. Secretary, across the State, every county --

        13           A      Every single county had new machines --

        14           Q      Okay.

        15           A      -- purchased by the State of Georgia.

        16           Q      Purchased by the State.       I see.   So it sounds to me like whatever

        17    happened in 2018 and the litigation that resulted made the 2020 election a lot more

        18   secure, in your view.

        19           A      Having a verifiable paper ballot is one of the best implementations that

        20   every State could make, and we made it in Georgia.

        21           Q     And just tell us generally why that makes it more reliable or safer, having a

        22   generated paper ballot for each voter.

        23           A      Because if you want to do a 100 percent hand recount, you now have a piece

        24   of paper that you can hand recount.         With using the old DRE machines, all you could do

        25   was press the button and you would get the same answer.
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 8 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 125 of 175

        Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 21 of 149
                                                                                                            20




         1            Q    I see.

         2            A    But this way, you could verify through the paper who people voted for.

         3            Q    Got it.     So you've got the machine flash drive electronic counts, but then

         4   you have a fail-safe, which is the actual paper ballots that could be hand recounted.

         5            A    Correct.

         6            Q    And that's new for 2020, didn't exist prior to that back in your election in

         7   2018 or prior election.

         8            A    Correct.

         9            Q    Okay.

        10                   BY-:

        11            Q    Could you tell us a little bit about the process of selecting Dominion with

        12   their RFP process?       How did that work?

        13            A    We had an RFP process.       We were on a fast track because we had to get

        14   this in place for the first election, the Presidential primary of 2020, because of court

        15   order.

        16            So we began the RFP process.       It was a five-member team.       We had someone

        17   from the disability community.       We had someone from the tech community so we could

        18   look at the tech basis.     My deputy secretary of state was on that committee, and we had

        19   two other individuals.      I was not on that.

        20            They went through a point system, and they evaluated companies on qualitative

        21   and quantitative.       Qualitative accounted for 75 percent of the score.     Quantitative,

        22   which was price, counted for 25 percent of the score.

        23            Dominion scored very strongly on the price.      They're much more economical

        24   than the other systems.       On the qualitative, they were close to another one, but there

        25   was another company.         But when you added it all up, Dominion was the low apparent
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 9 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 126 of 175

        Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 59 of 149
                                                                                                                58




         1   get together for meetings and have conversations.              So we look at best practices, and we

         2   see what other States are doing.

         3            Q       And, if another State had found widespread problems with Dominion Voting

         4   Systems, do you think they would've brought that to your attention?

         5            A       I think the entire world would've brought that to our attention.

         6            Q       Okay.      Did you talk to secretaries of state from other States regarding

         7   Dominion Voting Systems?

         8            A       Not really so much.        Kyle Ardoin is secretary of state of Louisiana; they use

         9   Dominion.        He's now the president of NAS, the National Association of Secretaries of

        10   State.       And so he faced some of these same issues that we did about the reliability of the

        11   machines, even though that State went, you know, 60/40 for President Trump.

        12            Q       Did he say whether he looked into those issues and, if so, what he found?

        13            A       No, I don't recall that, anything specific.

        14            Q       But I assume he did not say anything that would cause you to have --

        15            A       No.

        16            Q       -- a lack of confidence in Dominion?

        17            A       Correct.

        18            Q       And I know you've covered some of this before, but are the Dominion Voting

        19   Systems machines used in Georgia connected to the internet?

        20            A       No, they are not.

        21            Q       Okay.

        22            -                  To follow up on that, you said, Secretary Raffensperger, that they

        23   generate data onto a flash drive that is specific to that machine?

        24            Mr. Raffensperger.        Right.

        25                               They're not connected to each other or to some central source?
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 10 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 127 of 175

        Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 60 of 149
                                                                                                                 59




         1              Mr. Raffensperger.      Right.     It's really just, you have two flash drives so that you

         2   have two sources.      In case something happened to a flash drive, you'd always have a

         3   backup.

         4          -                   Yeah.

         5                    BY-

         6             Q     And could anybody have tampered with those flash drives?

         7             A     No.

         8             Q     I mean, is it something where somebody could've come in and switched out

         9   the flash drives?

        10             A     There would be a record of that on the forensic back end.           And we did a

        11   forensic audit of the -- Pro V&V did a forensic audit of a sample size of the machines

        12   post-election.

        13             Q     And then, in addition to that, having the two flash drives for the machine, as

        14   you said earlier, there's then, of course, the paper record, which is the most reliable of all.

        15             A     Correct.

        16         -                    So they're really more like a calculator than a computer.        In other

        17   words --

        18              Mr. Raffensperger.      Correct.

        19          -                   -- they sort of tabulate stuff just within that individual box, that

        20   machine, but do not, like a computer, connect to other boxes or other machines.

        21              Mr. Raffensperger.      Correct.     It's an adding machine.

        22          -Yeah.

        23                    BY-

        24             Q     Is there any way that they could be hacked?

        25             A     They haven't been.
    Case 1:17-cv-02989-AT Document 1630-27 Filed 02/13/23 Page 11 of 11
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 128 of 175

        Case 1:17-cv-02989-AT Document 1551-1 Filed 12/28/22 Page 61 of 149
                                                                                                         60




         1            Q    I mean, if they're not connected to the internet --

         2            A    They're not connected to the internet.

         3            Q    -- is there any way that you can think of where that could happen, where

         4   they could be hacked?

         5            A    The machines are secured, and they're always, you know, identified that you

         6   have security, you know, tape on it, you know, so that you know that, if you broke it,

         7   broke the seal, that someone could've been in there.      And so there was never any

         8   evidence of t hat that we are aware of.

         9            Q    Okay.

        10            -             Any members have questions so far?

        11            Mr. Schiff.   I do not.   Thank you.

        12            -             Great.

        13                   BY-

        14            Q    So let's turn your attention to exhibit 6 now in your binder.   This one, at the

        15   top, it says, "Administration of Donald J. Trump, 2020, Remarks During a Video

        16   Teleconference With United States Servicemembers and Exchange With Reporters,

        17   November 26, 2020."

        18            He says at the beginning, "Happy Thanksgiving," so this appears to be President

        19   Trump's Thanksgiving address to servicemembers.        And there were reporters there.

        20   There's, you know, a lengthy discussion of, you know, thanking the troops, which I won't

        21   cover.

        22            But I would turn your attention to page 6, and about three-quarters of the way

        23   down the page there's a question.       Question:   "Mr. President, do you have any big

        24   plans for your last Thanksgiving at the White House?"

        25            You can see, then, the reference to it being the last Thanksgiving at the
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 129 of 175




                                 Exhibit 8
    Case 1:17-cv-02989-AT Document 1630-28 Filed 02/13/23 Page 1 of 13
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 130 of 175




                EXHIBIT 78
2/10/23, 5:22 AMCase 1:17-cv-02989-AT           Document
                         Georgia Secretary of State             1630-28
                                                    Brad Raffensperger        Filed 02/13/23
                                                                       Press Conference               Page 2Hand
                                                                                        Transcript: Announces of 13
                                                                                                                 Recount | Rev
            USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 131 of 175
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     Nov 11, 2020



     Georgia Secretary of State Brad
     Raffensperger Press Conference Transcript:
     Announces Hand Recount




     Rev (https://www.rev.com/) › Blog (https://www.rev.com/blog/) › Transcripts (https://www.rev.com/blog/transcripts) › Georgia Secretary of State Brad Raffensperger
     Press Conference Transcript: Announces Hand Recount



     Georgia Secretary of State Brad Raffensperger announced a full hand recount of the Georgia election in a news briefing on
     November 11. Read the full transcript of the press conference here.




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               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                               Document
                        Georgia Secretary of State             1630-28
                                                   Brad Raffensperger        Filed 02/13/23
                                                                      Press Conference               Page 3Hand
                                                                                       Transcript: Announces of 13
                                                                                                                Recount | Rev
           USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 132 of 175

                        Brad Raffensperger: (00:04
                                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                        -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=4.64))
                        Okay. Well, good morning, everyone. Today is November 11th. Before we get started in talking about why
                        we’re here today, I’d like to just give a heartfelt prayer of thanksgiving to all those that gave their lives for this
                        country, all those people that continue to serve. This is a special day. This is a holiday. Growing up, my dad
                        served in World War II in the Navy, and people were called to serve. And then we had Korea, Vietnam, and the
                        people serving today. And so we can never forget, and we can never give them enough thanks for what
                        they’ve done for this nation.
                        Brad Raffensperger: (00:56
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=56.34))
                        And one of the things that they fought for is for our right, our freedom to have free and fair elections. So that
                        is, at the end of the day, what we really do need to be mindful of, particularly in our office, as we work
                        finishing up and closing out the election that we just had.
                        Brad Raffensperger: (01:16 (https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        loadFrom=PastedDeeplink&ts=76.73))
                        Also wanted to give a heartfelt thanks to the men and women who are standing with me here today. These
                        are election directors from across Georgia. They represent large counties, small counties, diverse counties,
                        and just from all over the state of Georgia. They and their staff are the ones that do the hard work on the
                        ground of making sure that all legal votes will be counted. Their job is hard. They executed their
                        responsibilities, and they did their job.
                        Brad Raffensperger: (01:52- - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                         -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=112.88))
                        This is a process. It is a process defined by law. These men and women in my office will continue to follow the
                        law and count every legal vote. As it stands today, 97 counties have sent them the final numbers in. The
                        current margin stands at 14,101, between the President and Senator Biden, Vice President Biden. My office
                        will continue to investigate each and every instance of illegal voting, double voting, felon voting, people voting
                        out of state. If you report it, we will investigate it. Every legal vote will count. We will continue to follow and
                        enforce the law.
                        Brad Raffensperger: (02:43
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=163.9))
                        Now let’s look at the next steps. We are currently looking at having a statewide runoff on December 1 and
                        another on January 5th. This is an untenable situation for these men and women to try and run both of these
                        elections. With that, under my powers under health emergency, I am moving the date of the December 1st
                        election to coincide with the federal run-off on January 5th. This will protect the integrity of both elections and
                        make for better election administration. It has the added benefit of saving taxpayers millions of dollars. The
                        reason we have so many of these on rollover lists voters is a direct function of COVID. This is the reality.
                        Brad Raffensperger: (03:32     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                                -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        loadFrom=PastedDeeplink&ts=212.2))
                   Professional
                        The next step   Transcription            Service
                                           in the current election                            Automatic
                                                                          process is getting the final countyTranscription
                                                                                                                  certifications in. We’llServicethen move to the
                   99% accuracy guaranteed, transcribed by human professionals                 80% accuracy, transcribed by robots and more affordable
                        risk limiting audit, or RLA. At 1:00 PM today, I will make the official designation of which race will be the
                        subject of the RLA. At that time, I’ll designate that the RLA will be the presidential race. With the margin being

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2/10/23, 5:22 AMCase 1:17-cv-02989-AT                Document
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                     close, it23-14115
                              will require a fullDocument:
                                                 by hand recount19in eachDate   Filed:
                                                                          county.        12/29/2023
                                                                                   This will                  Page:
                                                                                             help build confidence.     133
                                                                                                                    It will    of audit,
                                                                                                                            be an 175
                         a recount and a recanvas all at once. It will be a heavy lift, but we will work with the counties to get this done
                         in time for our state certification.
                         Brad Raffensperger: (04:15
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                        -- --------------- ------------------
                         IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                         --------- - --- ------------
                         loadFrom=PastedDeeplink&ts=255.62))
                         Many of these workers will be working plenty of overtime. We have all worked hard to bring fair and accurate
                         counts to assure that the will of the voters is reflected in the final count, and that every voter will have
                         confidence in the outcome, whether their candidate won or lost. Thank you for coming today. Do we have any
                         questions?
                          Audience: (04:41
                                     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                               -- --------------- ------------------
                          IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
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                                           url=https:/    recount or the nearly five million
                                                      /www.rev.com/blog/transcripts/georgia-     votes /www.rev.com/blog/transcripts/georgia-
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ces-hand-recount)        Brad Raffensperger:    (04:50
                                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                          conference-transcript-announces-hand-recount)
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                         IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                         - -------- - --- ------------
                         loadFrom=PastedDeeplink&ts=290.06))
                         Well, because we now have that verifiable paper ballot, for the first time in 18 years, we’re going to have
                         something to count instead of just pressing a button and getting the same answer. So we’ll be counting every
                         single piece of paper, every single ballot, every single lawfully cast legal ballot.
                         Audience: (05:06
                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                          -- --------------- ------------------
                         IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                         --------- - --- ------------
                         loadFrom=PastedDeeplink&ts=306.91))
                         Does that mean a QR code or-
                         Brad Raffensperger: (05:08
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                         IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                         --------- - --- ------------
                         loadFrom=PastedDeeplink&ts=308.91))
                         That will be the names that are on the ballot, whoever they voted for president, the English written word.
                         Brad Raffensperger: (05:18- - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                         -- --------------- ------------------
                         IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                         - -------- - --- ------------
                         loadFrom=PastedDeeplink&ts=318.41))
                         Yes, we will. As I said, people will be working lots of overtime the next coming week. Lot of people will be
                         really pleased with those paychecks if they’re getting overtime.
                         Audience: (05:31
                                     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                             -- --------------- ------------------
                         IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                         - -------- - --- ------------
                         loadFrom=PastedDeeplink&ts=331.74))
                         Secretary, will the recount be invested on how many election voters it will take to do that? Is there also going
                         to be a cost? Is that a lot of money, state or federal fund?
                         Brad Raffensperger: (05:36
                                                  - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                         -- --------------- ------------------

                         IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                                             - --- ------------

                         loadFrom=PastedDeeplink&ts=336.78))
                         That’ll be coming out of, we’ll determine at some point adding additional workers. We will probably have to
                         augment that, and we’ll be looking at that. And that’ll be the election directors at each county will be able to,
                         they’ll actually handle their own additional or their own county recount or risk-limiting audit county by county.
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                       Audience: (06:00            Service               Automatic Transcription Service
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                         loadFrom=PastedDeeplink&ts=360.49))


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               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                                   Document
                            Georgia Secretary of State             1630-28
                                                       Brad Raffensperger        Filed 02/13/23
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           USCA11I understand
                   Case: 23-14115            Document:
                              you want to [crosstalk          19 Date Filed: 12/29/2023 Page: 134 of 175
                                                       00:05:59].
                        Audience: (06:00
                                     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
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                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=360.5))
                        Is this how this audit was designed to work? I thought, originally, it was supposed to be looking at a small
                        segment of the vote, not the larger picture.
                        Brad Raffensperger: (06:05
                                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                        -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=365.35))
                        Yeah. Well, that’s really interesting when you start really digging into probability theorem. When you have 5
                        million votes, and the margin is so close, 14,000, if we pulled out 10,000 votes, all of a sudden, it could say,
                        well, this is the person that won. We pull out a hundred thousand, it says this person won. We pull out a
                        million, this person won. And that’s why, mathematically, you actually have to do a full hand by hand recount
                        of all, because the margin is so close. Right now it’s 14,101. So it’s really just the mathematics, the statistics,
                        the probability theorems that we use for the risk limiting that are taking us to that step.
                        Brad Raffensperger: (06:40
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=400.75))
                        So if it was another race, or you didn’t have such a close thing, then you could do that, and it would just be a
                        sample size. But you can’t do that when it’s that close. This race has national significance, national
                        importance. We get that. We understand that.
                        Audience: (06:56
                                   - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                         -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=416.04))
                        Does the Trump administration-
                        Brad Raffensperger: (06:57
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                      -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=417.43))
                        We do, we follow the process, and we understand the significance of this, for not just Georgia, but for every
                        single American. At the end of the day, when we do a hand count, then we can answer the question, exactly
                        what was the final margin in this race? Yes, ma’am?
                        Audience: (07:24
                                      - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                            -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=444.67))
                        The President just released a list of some Georgians who had passed away who supposedly voted in this
                        election. Is that something you will look into?
                        Brad Raffensperger: (07:26
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=446.16))
                        Oh, absolutely. We’ve been open and transparent. In fact, we’ve had multiple meetings like this, meeting with
                        the press. Gabriel Sterling, our implementation manager has come out to talk to you, really digging into the
                        weeds. If you have any information about illegal voting or voter fraud, bring that to our attention. We will
                        investigate every case that we hear.
                        Audience: (07:48 (https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                   Professional         Transcription Service                  Automatic Transcription Service
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                        [inaudible 00:07:51].


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               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                                  Document
                           Georgia Secretary of State             1630-28
                                                      Brad Raffensperger        Filed 02/13/23
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                  Case:   23-14115(07:52
                      Raffensperger:        Document:        19 Date Filed: 12/29/2023 Page: 135 of 175
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                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=472.99))
                        I’m hearing that that just came out this morning. We’ll look at those records, and we’ll start digging into that.
                        Audience: (07:58
                                   - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                          -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=478.14))
                        Won’t the hand recount be less accurate than a computer recount? Humans make mistakes. And are you
                        concerned about the accuracy of a hand recount?
                        Brad Raffensperger: (08:06
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        -  -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=486.62))
                        It really is what the numbers take us to, and we’re following the process that would drive us to that, that’s in
                        current state law.
                        Audience: (08:14
                                     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                           -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=494.08))
                        And is it reasonable to believe that the results will change much? 14,000 votes. Is there any chance that the
                        outcome or the results of the presidential election would change as a result? And is it possible that 14,000
                        votes could flip?
                        Brad Raffensperger: (08:31
                                             - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                    -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=511.25))
                        You’re asking me to make predictions, and what we’re going to deal is in facts. And so I’ll report the facts, and
                        then-
                        Audience: (08:36
                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                          -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=516.01))
                        We’re talking probablilites. What is the probability?
                        Brad Raffensperger: (08:38
                                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                        -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=518.22))
                        I’ll get out my calculator, and I’ll get that back to you. I can’t do that off the cuff. Thank you.
                        Audience: (08:43
                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                           -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=523))
                        [inaudible 00:08:43] still ask for a recount once this is done. [inaudible 00:08:48].
                        Brad Raffensperger: (08:52
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                                            - --- ------------
                        loadFrom=PastedDeeplink&ts=532.12))
                        That’s a good question. But after it has certified, the candidate that is within half percent, I believe, would still
                        be entitled to a recount, but that would be a scan recount, just because of that is what is in state law.
                        Brad Raffensperger: (09:04     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                                -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                   Professional         Transcription Service
                        loadFrom=PastedDeeplink&ts=544.46))                        Automatic Transcription Service
                   99% accuracy guaranteed,
                        Yes, sir.           transcribed by human professionals      80% accuracy, transcribed by robots and more affordable




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               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                                  Document
                           Georgia Secretary of State             1630-28
                                                      Brad Raffensperger        Filed 02/13/23
                                                                         Press Conference               Page 7Hand
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                                                                                                                   Recount | Rev
           USCA11Audience:
                  Case: 23-14115
                           (09:04           Document: 19 Date Filed: 12/29/2023 Page: 136 of 175
                            - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                   -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=544.97))
                        Whap happens if certain counties [inaudible 00:09:08].
                        Brad Raffensperger: (09:12
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                      -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=552.44))
                        We’re going to continue to work with the counties on that, but that’s their deadline. And that is the process
                        that we have in place. And we’ve had a great cooperation and dedication from the county election officials.
                        That’s why we have so many here. We have professionals out there. And at the end of the day, I know that I
                        haven’t asked them, but I know that there’s some folks back here that maybe vote this way, and other folks
                        that vote that way, and some go this way, that way on different elections. At the end of the day, though,
                        they’re following a process. And then what they want is they never want you to be able to question their
                        integrity. And that’s what we want for everyone. They’re seeing that we’re following a process. Integrity still
                        matters.
                        Audience: (09:50
                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                           -- --------------- ------------------

                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        loadFrom=PastedDeeplink&ts=590.69))
                        [inaudible 00:09:50].
                        Brad Raffensperger: (09:50
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                      -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=590.72))
                        We’ll continue with every county that we have, and if there’s some they’re still buttoning it up, then we’ll roll to
                        that. Hopefully that’s the smaller counties.
                        Audience: (10:00
                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                            -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=600.47))
                        Is there any sort of estimate of how long this will take?
                        Brad Raffensperger: (10:04- - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                         -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=604.63))
                        It will take every bit of the time that we have left, for sure. It’s a big lift.
                        Audience: (10:08
                                     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                           -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=608.91))
                        So to certify-
                        Brad Raffensperger: (10:12
                                             - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                   -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=612.68))
                        Our date is November 20.
                      Audience: (10:14
                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                        -- --------------- ------------------

                      IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                                        - --- ------------
                      loadFrom=PastedDeeplink&ts=614.41))
                      You’ve been saying for more than a year that we should absolutely trust the QR codes. So why is a hand
                      recount necessary
                   Professional          right now? Service
                                 Transcription                              Automatic Transcription Service
                   99% accuracy guaranteed, transcribed(10:21
                        Brad Raffensperger:             by human professionals
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                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        loadFrom=PastedDeeplink&ts=621.47))
https://www.rev.com/blog/transcripts/georgia-secretary-of-state-brad-raffensperger-press-conference-transcript-announces-hand-recount          6/18
               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                                     Document
                              Georgia Secretary of State             1630-28
                                                         Brad Raffensperger        Filed 02/13/23
                                                                            Press Conference                Page 8Hand
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           USCA11Statistically
                  Case: 23-14115
                               because of whereDocument:
                                                  we are there, 19
                                                                 we haveDate
                                                                          a teamFiled:  12/29/2023
                                                                                  of people, national expertsPage:     137
                                                                                                               that have    of 175
                                                                                                                         worked on
                        risk limiting audits in several other states. They’re part of our team. This not just a decision we made
                        unilaterally. We reached out to these experts. We’ve been working with them for several months, and we just
                        follow the science of the risk limiting audit. We follow the numbers, and that’s where it leads us, to count
                        every single ballot by hand.
                        Audience: (10:45
                                   - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                         -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=645.88))
                        Does this mean that certification deadlines are no longer in effect or extended to November 20?
                        Brad Raffensperger: (10:51
                                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                        -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=651.26))
                        No, they’re still required, and we want them here by Friday at the latest. We have 97 counties already.
                        Audience: (11:02
                                   - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                          -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=662.54))
                        Can the recount begin before the county is certified? [inaudible 00:11:03] What’s the-
                        Brad Raffensperger: (11:02- - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                          -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        -   -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=662.97))
                        I’ll talk to legal about that, but we want to start this really before the week is up because we understand
                        there’s an awful lot to do. Yes sir?
                        Audience: (11:10
                                       - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                              -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=670.94))
                        This is a little repetitive. Could you elaborate again on the timeline of the audit, and what is going to be
                        counted exactly?
                        Brad Raffensperger: (11:17 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                          -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=677.55))
                        The ballot that you had, whether it was an absentee ballot, if you sent that in, or if it was voted by in-person
                        like I did, we’ll look at that ballot. And someone’s going to look at who did you want, and they’re just going to
                        go through that. And you’ll have two people that are doing all the counting. They’ll put them out and in stacks
                        and make sure that the stack has, let’s say, a thousand ballots. And then you look at the end, you had 501 for
                        this person, 499 for that one. You just keep on rolling through. And that’s how it’s going to be, all the way
                        through. And you’re going to tally it all up. It’s a big process. There will be a methodical process. It’ll be an
                        accurate process. And I’m sure that there will be plenty of oversight. We want to make sure that both parties
                        have the opportunity to observe this because we understand the stakes are high.
                        Brad Raffensperger: (12:07
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                      -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        -  -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=727.2))
                        I don’t really know. And we do what we do in Georgia. We follow our laws. And every state is 50 states, 50
                        different election laws.
                        Audience: (12:13 (https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                   Professional         Transcription Service                  Automatic Transcription Service
                        loadFrom=PastedDeeplink&ts=733.62))
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                        What do you do if these hand counts don’t match the computer counts? Do you count again?


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               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                                  Document
                           Georgia Secretary of State             1630-28
                                                      Brad Raffensperger        Filed 02/13/23
                                                                         Press Conference               Page 9Hand
                                                                                          Transcript: Announces of 13
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                  Case:   23-14115(12:18
                      Raffensperger:        Document:        19 Date Filed: 12/29/2023 Page: 138 of 175
                                      - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                              -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=738.83))
                        No, that would then become the risk limiting audit and becomes a full recount. And that is what we are going
                        to be certifying on November 20th. So thank you very much.
                        Audience: (12:28
                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                           -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=748))
                        [inaudible 00:12:28] will be certified.
                        Brad Raffensperger: (12:30
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=750.05))
                        That’ll be what we’ve certified because that’ll be the last count, and that’d be the most accurate count. That’ll
                        be the paper ballot count.
                        Audience: (12:33
                                   - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                          -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=753.9))
                        This bypasses the audit, I guess, in theory.
                        Brad Raffensperger: (12:36
                                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                           -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=756.61))
                        Well, it is actually an audit. It’s all in one. It’s an audit, recanvas and a recount, all in one, because it’ll be just
                        really a process that gets it all.
                        Audience: (12:44
                                   - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                         -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=764.22))
                        Secretary?
                        Brad Raffensperger: (12:45
                                             - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                   -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=765.58))
                        Yeah.
                        Audience: (12:46
                                      - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                            -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=766.88))
                        When will the election [inaudible 00:12:48] It’s going to take [inaudible 00:12:51] to certify these, go through
                        all these. [inaudible 00:12:55].
                        Brad Raffensperger: (12:59
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=779.67))
                        Well, many people aren’t aware of is that where we are in the process right now in our county, we’re in the
                        same place that Florida is, North Carolina and Texas. The thing is, in those races, it’s not real close. In our
                        case, there’s 14,101 votes right now that separate the top versus number two. And so therefore, all eyes have
                        focused on that. And that’s really why you’re seeing that. But the other states are still out there tabulating
                        their absentee ballots. Thank you for bringing that up.
                   Professional  Transcription
                      Audience: (13:28            Service               Automatic Transcription Service
                                       (https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                   99% accuracy guaranteed, transcribed by human professionals
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                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        loadFrom=PastedDeeplink&ts=808.91))


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               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                                  Document
                            Georgia Secretary of State            1630-28
                                                       Brad Raffensperger       Filed 02/13/23
                                                                          Press Conference              Page 10
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           USCA11[inaudible
                   Case: 23-14115
                            00:13:30].       Document: 19 Date Filed: 12/29/2023 Page: 139 of 175
                        Brad Raffensperger: (13:32
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                     -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=812.75))
                        That’s still going on.
                        Audience: (13:34
                                     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                           -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=814.37))
                        But even though someone will have been sworn in for that seat, [inaudible 00:13:38] already have been sworn
                        in by the time the special election takes place.
                        Brad Raffensperger: (13:42- - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                         -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=822.05))
                        The fifth district is not affected by what we’re doing here.
                        Audience: (13:44
                                      - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                            -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=824.2))
                        Secretary, as you know, [inaudible 00:13:46] at the parties say that a lot of Republican voters and Trump
                        supporters in particular, do not trust the election results. It’s not the matching the person to the computer
                        scan. It’s the dead people vote. Did the mail service, did employees from the postal service steal the election?
                        And how can you remedy that in counting the votes? Are you going to call the person who voted and ask, did
                        you vote for this person. Is this person alive in your family? How do you remedy those accusation? How do
                        you get to the bottom of that?
                        Brad Raffensperger: (14:22
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                        -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=862.51))
                        Well, number one, I am not the Postmaster General. We have no control over the Federal Postal Service. So
                        when people mailed their ballots back, it’s under federal government control and the Federal Post Office,
                        Postal Service. Once it gets to the counties, then that’s on the counties how to handle that. Through this
                        process, we believe that, and we know that the machines are correct, and what you’re going to find, we
                        believe in the count. As relates to dead people and other forms of illegal voting, that’s why we’ve asked for, if
                        you know, of a case of illegal voting or suspected illegal voting, bring that to us. Antidotes and stories doesn’t
                        work. We need something that we can actually investigate. I’m actually very grateful that Attorney General
                        Barr, I respect that man, this is second round as being Attorney General of the United States of America. And
                        he is a calm, very thorough attorney. And he’s directed his US attorneys to look for things. And the one thing
                        that federal government does have is resources that we don’t have. And so if they can find something that we
                        can’t, that can help to bring to bear, we want to make sure that the only people that vote are legal voters.
                        Audience: (15:37
                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                            -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=937.52))
                        That’s not part of this process that [inaudible 00:15:41].
                        Brad Raffensperger: (15:41
                                              - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                    -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=941.56))
                        Yeah. We’re counting what the paper ballots are. And those will be ongoing investigations.
                   Professional Transcription Service                                     Automatic Transcription Service
                        Audience:
                   99% accuracy        (15:45
                                guaranteed,      (https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                            transcribed by human professionals      80% accuracy, transcribed by robots and more affordable

                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        loadFrom=PastedDeeplink&ts=945.76))

https://www.rev.com/blog/transcripts/georgia-secretary-of-state-brad-raffensperger-press-conference-transcript-announces-hand-recount         9/18
               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                                  Document
                            Georgia Secretary of State            1630-28
                                                       Brad Raffensperger       Filed 02/13/23
                                                                          Press Conference              Page 11
                                                                                           Transcript: Announces   of Recount
                                                                                                                 Hand 13 | Rev
           USCA11Does
                  Case:    23-14115
                      this hand recount set aDocument:
                                               precedent for 19       Date
                                                              every race      Filed:
                                                                          going       12/29/2023
                                                                                forward and-               Page: 140 of 175
                        Brad Raffensperger: (15:50
                                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                        -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=950.63))
                        No, we can pick whatever one we pick, but we understand the national significance of this session right now.
                        Next time it may be some other statewide race. And in fact, as we rolled this out, you have to understand,
                        many states that are doing risk limiting audit, it took them five to seven years to get this going. When
                        Colorado did it, that was a long multi-year process. We’ve passed House Bill H.B. 316 in 2019. We stood up, in
                        spite of COVID, a risk limiting audit this year, and so at nine months, 11 months, we’re going to do the first
                        statewide election with a risk limiting audit. So this is record time that we’ve done this. We actually eventually
                        are going to be doing risk limiting audits for a host of elections to give you the voter confidence that when
                        you’ve cast your ballot, it was accurately counted, that you have the confidence, and you can leave at the end
                        of the day, knowing the system got it right. And then when we do that, we think it really is good for all of
                        Georgia.
                        Audience: (16:46
                                   - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                           -- --------------- ------------------

                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        loadFrom=PastedDeeplink&ts=1006.49))
                        Are you doing this whole recount because the Trump campaign asked you to?
                        Brad Raffensperger: (16:49
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1009.54))
                        No, we’re doing this because it is really what makes the most sense. With the national significance of this race
                        and the closeness of this race, we have to run a statewide audit. This is the race that makes the most sense,
                        logically, as I worked with our team, this is really what made the most sense. And we’ll be following the
                        process on that.
                        Audience: (17:06
                                     - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                            -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1026.18))
                        Just a followup. I understand you don’t have the total cost. This could mean [inaudible 00:17:09] You said
                        there would be a lot of overtime so it sounds expensive.
                        Brad Raffensperger: (17:18
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1038.42))
                        Yeah, it is. We understand that typically the counties fund their own elections. And this is part of one of the
                        things that they’d buy into. And right now, everyone’s in austerity cuts. So that’s the issue. But that’s where we
                        are. And I don’t have an answer to specific on that. I have my domain as Secretary of State, and I can only
                        have my authority that I have within office. And that is something that would really be what the general
                        assembly perhaps could do to help the counties.
                        Audience: (17:44
                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                            -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1064.77))
                        Did I describe it correctly? It sounds like the counties will foot the bill, but there’s opportunity possibly-
                      Brad Raffensperger: (17:48
                                             - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                   -- --------------- ------------------
                      IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                      loadFrom=PastedDeeplink&ts=1068.74))
                   Professional   Transcription Service
                      At the present time, that would be what it would be.
                                                                           Automatic Transcription Service
                   99% accuracy guaranteed, transcribed by human professionals       80% accuracy, transcribed by robots and more affordable




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               Case 1:17-cv-02989-AT
2/10/23, 5:22 AM                                 Document
                           Georgia Secretary of State            1630-28
                                                      Brad Raffensperger       Filed 02/13/23
                                                                         Press Conference              Page 12
                                                                                          Transcript: Announces   of Recount
                                                                                                                Hand 13 | Rev
           USCA11Audience:
                  Case: 23-14115
                           (17:52           Document: 19 Date Filed: 12/29/2023 Page: 141 of 175
                            - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                   -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1072.17))
                        Secretary, you really released this to all, but you bill yourself as a national leader, Georgia as a national leader
                        in elections. Does anything change in that? Or do you still consider yourself a national leader?
                        Brad Raffensperger: (18:01
                                                - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                        -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1081.7))
                        Yeah, I think George has done a great job if you look at what we accomplished in this past year. We stood up a
                        new voting system, new voting machines in less than six months. And that was really because we had an
                        activist federal judge that said you can’t use the old DRE machines. And so we had to do that for the first
                        primary that we had coming up.
                        Brad Raffensperger: (18:20
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------

                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        loadFrom=PastedDeeplink&ts=1100.75))
                        All of a sudden we got hit with COVID that started hitting in February, and then March the general assembly
                        had to take a hiatus around March 15th. And so then we had to do a 360 or a 180 on what are we going to do
                        here so that we can run elections that are safe for voters? And what does that look like?
                        Brad Raffensperger: (18:38
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                       -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1118.41))
                        And then coming out of that, we stood up an absentee ballot portal so that we have safe, secure requests for
                        absentee ballots that required voters to tell us your name, day, month and year so we can identify you. And
                        then also your department of drivers service, your driver’s license number. So we making sure it truly is the
                        voter that’s requesting this absentee ballot for additional security.
                        Brad Raffensperger: (19:01
                                               - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                      -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1141.82))
                        And then we added ballot tracks. Then we added the wait time. And then we had very successful early day
                        voting. We had a few lines the first couple of days, and then we had record 2.8 million voters plus voted in
                        early voting. And we had very short lines for that. State Farm stood up, but across the state, everyone of these
                        election directors had great success.
                        Brad Raffensperger: (19:25
                                                 - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                         -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        --------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1165.13))
                        Then on the day of election, we had an average wait time in the afternoon was about two minutes. At one
                        point, I screenshot it, put it out there on Facebook. We had wait times, the longest wait time was 40 minutes.
                        It dropped down to 20 minutes, and before you know, it was 10 minutes. So tremendous results. And so I
                        think that we’ve led in so many different areas, and we’ve proven that every vote counts, and integrity
                        matters. At the end of the day, that’s good.
                        Audience: (19:50
                                   - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                          -- --------------- ------------------
                        IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                        - -------- - --- ------------
                        loadFrom=PastedDeeplink&ts=1190.13))
                        what happens if the recount isn’t done by November 20?
                        Brad Raffensperger: (19:52 (https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                   Professional Transcription Service                 Automatic Transcription Service
                      IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                   99% accuracy guaranteed, transcribed by human professionals       80% accuracy, transcribed by robots and more affordable
                        loadFrom=PastedDeeplink&ts=1192.89))
                        Well, then we just have to continue that process, but we have our charge, the November 20th is our day. And

https://www.rev.com/blog/transcripts/georgia-secretary-of-state-brad-raffensperger-press-conference-transcript-announces-hand-recount          11/18
2/10/23, 5:22 AMCase 1:17-cv-02989-AT              Document
                             Georgia Secretary of State            1630-28
                                                        Brad Raffensperger       Filed 02/13/23
                                                                           Press Conference              Page 13
                                                                                            Transcript: Announces      of Recount
                                                                                                                    Hand   13 | Rev
            USCA11the
                   Case:    23-14115
                      one thing               Document:
                                that we’ve learned             19 Date
                                                    in the construction        Filed:
                                                                        industry,       12/29/2023
                                                                                  I’ve been                  Page:
                                                                                            in this thing really, hit my142
                                                                                                                         first of 175
                           construction job site when I was about six years old, sitting in my dad’s pickup truck. And so I grew up with the
                           idea of deadlines, and in our business, it is all about deadlines. And every day, it’s about hitting deadlines.
                           Brad Raffensperger: (20:17
                                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                            -- ------------- ---------------
                           IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                           ------------------------------------
                           loadFrom=PastedDeeplink&ts=1217.65))
                           And our election directors, they know all about deadlines because we have this date for this, this date for
                           that, registration, this early vote, day of election. And then all of a sudden, you have a runoff, and then you
                           roll into next year we’re going to have city and municipal elections. And then we’re going to roll into the next
                           year. So this whole operation is deadline driven.
                           Audience: (20:37
                                         - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                               -- ------------- ---------------
                           IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                           loadFrom=PastedDeeplink&ts=1237.61))
                           I’m just trying to understand how hundreds of human being working long hours are going to be more
                           accurate than a computer.
                           Brad Raffensperger: (20:45
                                                    - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                                            -- ------------- ---------------
                           IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                           - - - - - - - - - - - - ----------- - - - - - - - - - - - - -
                           loadFrom=PastedDeeplink&ts=1245.55))
                           Well, that’s why there’ll be plenty of eyeballsYour
                                                               Transcribe   on Own
                                                                                themContent
                                                                                       to verify that every vote is accurately counted. And
                           that’s the way(https:/
                                  Try Rev  the process  works. Because
                                                 /www.rev.com/services)   ofsave
                                                                        and  the time
                                                                                 largetranscribing,
                                                                                        number ofcaptioning,
                                                                                                    votes andand
                                                                                                               the  closeness of the vote, it’s the
                                                                                                                 subtitling.
                           only way to do that. We’ve talked to our risk-limiting experts in our office and also national experts in
                           that.we’re following the process.
                    Brad Raffensperger: (21:07
                                         - - -(https://www.rev.com/transcript-editor/shared/oxX7-PZDDmL-
                                               -- ------------- ---------------
                    IhU2mPKRirtUNpgqchAksQC3GbvAL5z5FTUdcliK0cjj8n-I4Z7zP7aPFSE0yY8LzZ_NG0gKTc2vWU8?
                    ------------------------------------
     Other Related Transcripts
                    loadFrom=PastedDeeplink&ts=1267.27))
                    Thank you very much for coming out. We’ll have another announcement later today. Thank you.




       Blinken Meets With Israeli Foreign Minister Transcript
       • 1 week ago
                      Professional Transcription Service                                Automatic Transcription Service
     (https://www.rev.com/blog/transcripts/blinken-meets-with-israeli-foreign-minister-transcript)
                      99% accuracy guaranteed, transcribed by human professionals        80% accuracy, transcribed by robots and more affordable




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USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 143 of 175




                                 Exhibit 9
     Case 1:17-cv-02989-AT Document 1632-10 Filed 02/14/23 Page 1 of 3
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 144 of 175




              EXHIBIT 160
                Case 1:17-cv-02989-AT Document 1632-10 Filed 02/14/23 Page 2 of 3
           USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 145 of 175
   Message
   From:         Harvey, Chris [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                 (FYDI BOH F23SPDLT)/CN=RE Cl Pl ENTS/CN =3F 1F603CA29 F4E6287 4AD7949BCD384B-HARVEY, CH R]
   Sent:         11/6/2020 1:43:58 PM
   To:           Watson, Frances [/o=Exchangelabs/ou=Exchange Administrative Group
                 (FYDI BOH F23SPDLT)/ cn=Recip ients/cn=a 762 76f39bdd4942930106c456debca6-Watson, Fra]
   Subject:      RE:


   10-4. I assume you're investigating.


   Chris Harvey
   Elections Director
   Georgia Secretary of State

   Main 470-312-2777
   Cell 404-985-6351




   From: Watson, Frances <fwatson@sos.ga.gov>
   Sent: Thursday, November 5, 2020 3:31 PM
   To: Germany, Ryan <rgermany@sos.ga.gov>; Evans, Blake <bevans@sos.ga.gov>; Harvey, Chris <wharvey@sos.ga.gov>
   Subject:



   Name: Laura Jones
   Phone: (404) 731-5429
   Address: 1379 Middlesex Avenue NE
   City: Atlanta
   State: GA
   Zip Code: 30306
   County: Fulton
   E-mail: lauramullerjones@gmail.com



   Location of Violation: Temple Ema nu El, 1850 Spalding Drive



   Description of Violation: When we opened the large cabinets containing the voting machines, we discovered that most
   of the voting machines "election database" doors were wide open and not secured with a zip tie with serial
   number. Seals were already broken or a zip tie was put on but was not put through the door. Also, we found two paper
   ballots on the printer. We did not scan these ballots. Our Poll Manager, Kaira Bell, put these on her clipboard. I don't
   know where those ended up. Also, all of the machines are supposed to show "0" ballots cast upon opening. One of our
   machines did show 1 ballot had been cast on it. We did not use this machine, but we did use all the other machines that
   had the "elections database" door open. Last but not least, we did not follow the protocol for opening the large
   cabinets and starting up the machines. In training, I was instructed that all serial numbers on zip ties on doors were to
   be compared with the serial numbers written down on a form. We did not do this. My Poll Manager said, "I've never
   seen them not match so we don't need to do this. I can always check it at the end of the day." So, we clipped off all the
   zip ties with serial numbers without checking them for a match. I also know that the Poll Manager did not check them at




Confidential                                                                           STATE-DEFENDANTS-00101460
              Case 1:17-cv-02989-AT Document 1632-10 Filed 02/14/23 Page 3 of 3
         USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 146 of 175
   the end of the day because I was given the job of putting zip ties on to close up the machines and the Manager was
   packing up equipment. It as disheartening not to see the security measures followed. Laura Jones 404-731-5429




   Frances Watson
   Chief Investigator
   Investigations Division
   Georgia Secretary of State
   Main: 470-312-2774
   Cell: 404-683-3226




Confidential                                                                          STATE-DEFENDANTS-00101461
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 147 of 175




                                 Exhibit 10
     Case 1:17-cv-02989-AT Document 1632-12 Filed 02/14/23 Page 1 of 4
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 148 of 175




              EXHIBIT 162
                Case 1:17-cv-02989-AT Document 1632-12 Filed 02/14/23 Page 2 of 4
           USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 149 of 175
   Message
   From:          Harvey, Chris [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDI BOH F23SPDLT)/CN=RE Cl Pl ENTS/CN =3F 1F603CA29 F4E6287 4AD7949BCD384B-HARVEY, CH R]
   Sent:          11/10/2020 6:41 :17 PM
   To:            Watson, Frances [/o=Exchangelabs/ou=Exchange Administrative Group
                  (FYDI BOH F23SPDLT)/ cn=Recip ients/cn=a 762 76f39bdd4942930106c456debca6-Watson, Fra]
   Subject:       RE:


   How do we know they let him? The pictures look pretty rough


   Chris Harvey
   Elections Director
   Georgia Secretary of State


   Main 470-312-2777
   Cell 404-985-6351




   From: Watson, Frances <fwatson@sos.ga.gov>
   Sent: Tuesday, November 10, 2020 12:32 PM
   To: Evans, Blake <bevans@sos.ga.gov>; Harvey, Chris <wharvey@sos.ga.gov>
   Subject: FW:

   FYI


   My additional question is why did they let him take photographs in the poll?




   Frances Watson
   Chief Investigator
   Investigations Division
   Georgia Secretary of State
   Main : 470-312-2774
   Cell: 404-683-3226




   From: Hall, Adrick <ahall@sos.ga.gov>
   Sent: Tuesday, November 10, 2020 12 :08 PM
   To: Watson, Frances <fwatson@sos.ga.gov>
   Subject: FW:




Confidential                                                                            STATE-DEFENDANTS-00101471
                  Case 1:17-cv-02989-AT Document 1632-12 Filed 02/14/23 Page 3 of 4
             USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 150 of 175
   FYI. ..


  From: Hall, Adrick <ahall@sos.ga.gov>
  Sent: Tuesday, November 10, 2020 12:08 PM
  To: Hall, Adrick <ahall@sos.ga.gov>
  Subject: RE:

   See pies


  From: Hall, Adrick
  Sent: Tuesday, November 10, 2020 11:18 AM
  To: Watson, Frances <fwatson@sos.ga.gov>
  Subject: RE:

   I spoke with Austin and he explained that when he went to vote by Absentee-In-Person, the security seals on the BM Ds
   were broken. He brought it to a poll worker's attention and she went and got a man (possibly a tech) who said they
   leave them open while the polls are open so they can fix the machines if necessary. He informed Austin that they were
   sealed when the polling location closed.

   Austin said, out of concern, he photographed the BM Ds in the front and back to capture the broken seals in pictures. I
   asked that he send me copies of the photos and he said he would email them to me.


  From: Watson, Frances <fwatson@sos.ga.gov>
  Sent: Monday, November 9, 2020 5:55 PM
  To: Hall, Adrick <ahall@sos.ga.gov>
  Subject:

   Can you call this person and determine what he is reporting. Let me know what you find

   Name: Austin
   Phone: -
   Address: -
   City: Hartwell
   State: GA
   Zip Code: 30643
   County: Hart
   E-mail: -



   Location of Violation: Hartwell polling place at the library



   Description of Violation: Many voting machines unlocked during the day.

   https://twitter.com/0x0090/status/1324666182641864706




   Frances Watson
   Chief Investigator




Confidential                                                                           STATE-DEFENDANTS-00101472
              Case 1:17-cv-02989-AT Document 1632-12 Filed 02/14/23 Page 4 of 4
         USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 151 of 175
   Investigations Division
   Georgia Secretary of State
   Main: 470-312-2774
   Cell: 404-683-3226




Confidential                                                  STATE-DEFENDANTS-00101473
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 152 of 175




                                 Exhibit 11
     Case 1:17-cv-02989-AT Document 1637 Filed 02/16/23 Page 1 of 146
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 153 of 175




              IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF
                    GEORGIA ATLANTA DIVISION



 DONNA CURLING, ET AL.,
 Plaintiffs,

 v.

 BRAD RAFFENSPERGER, ET AL.,             Civil Action No. 1:17-CV-2989-AT
 Defendants.



      CORRECTED JOINT STATEMENT OF ADDITIONAL FACTS IN
      SUPPORT OF PLAINTIFFS’ OPPOSITIONS TO DEFENDANTS’
              MOTIONS FOR SUMMARY JUDGMENT
     Case 1:17-cv-02989-AT Document 1637 Filed 02/16/23 Page 2 of 146
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 154 of 175




                                     Table of Contents


A.    DREs Suffered from Serious Vulnerabilities. ................................................1
B.    Logan Lamb Breaches CES in August 2016. .................................................3
C.    Georgia’s GEMS System Was Not Air-Gapped. ...........................................9
D.    Multiple Components of Georgia’s DRE/GEMs Voting System Were
      Transferred to the Current System................................................................10
E.    Ballots Produced by Georgia’s BMD System are Not Voter-
      Verifiable, Much Less Voter-Verified. ........................................................21
F.    The July 2021 Halderman Report Identified Numerous Serious
      Vulnerabilities with Georgia’s Current BMD System. ................................40
G.    An Independent Government Cybersecurity Agency Verified Dr.
      Halderman’s Findings and Recommended Mitigation Measures. ...............51
H.    Defendants’ Experts Never Examined Georgia’s Voting Equipment
      and Admit Key Vulnerabilities. ....................................................................54
I.    Defendants’ Own Cybersecurity Consultant Identified Vulnerabilities. ..... 58
J.    Georgia’s Election System Lacks Sufficient Safeguards to Protect
      Against Demonstrated Cybersecurity Vulnerabilities. .................................67
K.    The Coffee County Breach Reveals the Lack of Meaningful
      Safeguards to Protect Georgia’s Voting System. .........................................74
      1.      Election Officials in Coffee County Permitted Unauthorized
              Individuals Access to Georgia’s Election System .............................74
      2.      Election Data from Coffee County was Uploaded to the Internet
              and Accessed by Dozens of Unauthorized Individuals ......................86
      3.      The Coffee County Breach Poses a Serious Threat to the
              Security of Future Georgia Elections .................................................93
L.    State Defendants Ignored All Indications of the Coffee County
      Breach, until Plaintiffs began to Uncover the Facts. ....................................98
M.    Georgia’s Election System Also Lacks Procedural Safeguards
      Because it is Un-Auditable. ........................................................................112


                                                     i
     Case 1:17-cv-02989-AT Document 1637 Filed 02/16/23 Page 3 of 146
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 155 of 175




N.    Curling Plaintiffs are Georgia Electors Who Have Suffered
      Particularized Harm. ...................................................................................117
O.    It is Feasible to Implement a Voting System Using Hand-Marked
      Paper Ballots in Georgia. ............................................................................131
P.    State Law Requires Fulton County to Conduct Elections and
      Implement the Voting System in Fulton County........................................135




                                                      ii
     Case 1:17-cv-02989-AT Document 1637 Filed 02/16/23 Page 34 of 146
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 156 of 175




109:1-3, 135:23-136:2; Opp. Ex. 5 at 56-57; see also Opp. Ex. 100 (stating that his

“ideal voting model is one where voters get to choose BMD or hand marked,

where audits happen regularly, and where machines are maximally transparent and

use modern security features”); Opp. Ex. 87 at 125:7-12; Opp. Ex. 92 at 2.



        102. The vast majority of U.S. jurisdictions use hand-marked paper ballots

(“HMPBs”) as the primary method of voting, with BMDs used only for voters who

need or request them (e.g., those with certain disabilities). Dkt. 1131, Halderman

Report at ¶ 2; Opp. Ex. 57 ¶ 6; Opp. Ex. 102; Opp. Ex. 103; see also Opp. Ex. 104

at 8.



        103. The current consensus among election security experts is that BMDs,

such as the Dominion ICX at issue, are not a secure method of voting due to

fundamental flaws and that there is no known way of remedying those flaws other

than to abandon BMDs except for those voters who cannot mark a paper ballot

with a pen. Opp. Ex. 56 at 45:10-46:5; SMF Ex. 59 ¶¶ 5-6, 22-23, 25, 45, 77; Opp.

Ex. 105 at 11:9-13:20, 271:4-272:6; Opp. Ex. 32; Opp. Ex. 33; Opp. Ex. 87 at

42:21-43:4; Dkt. 1589, Feb. 2, 2023 Stark Decl., ¶¶ 6-7, Ex. 5 at 2; Opp. Ex. 96.




                                         31
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 157 of 175




                                 Exhibit 12
     Case 1:17-cv-02989-AT Document 1645 Filed 02/21/23 Page 1 of 440
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 158 of 175


                                                                       Page 1

1                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
2                          ATLANTA DIVISION
3
4
       Donna Curling, et al.,
5
                          Plaintiffs,
6                                                  CIVIL ACTION FILE
                    vs.
7                                                  NO. 1:17-cv-02989-AT
       Brad Raffensberger, et
8      al.,
9                    Defendants.
       ~~~~~~~~~~~~~~~~~~~~~~~~~~
10
11
12
                       VIDEO 30(b)(6) DEPOSITION OF
13                         SECRETARY OF STATE
                                 THROUGH
14                       ROBERT GABRIEL STERLING
15
16                              October 12, 2022
17                                 9:26 a.m.
18
19
                    Suite 3250, One Atlantic Center
20                      1201 W. Peachtree Street
                            Atlanta, Georgia
21
22
23
24
                      S. Julie Friedman, CCR-B-1476
25

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     Case 1:17-cv-02989-AT Document 1645 Filed 02/21/23 Page 2 of 440
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 159 of 175


                                                                       Page 2

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     Case 1:17-cv-02989-AT Document 1645 Filed 02/21/23 Page 3 of 440
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 160 of 175


                                                                       Page 3

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     Case 1:17-cv-02989-AT Document 1645 Filed 02/21/23 Page 4 of 440
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 161 of 175


                                                                           Page 4

1                     INDEX OF EXAMINATIONS
2     WITNESS:
      Robert Gabriel Sterling
3                                                                     Page
4      CROSS-EXAMINATION                                                11
       By Mr. Cross
5
       CROSS-EXAMINATION                                                   361
6      By Mr. Brown
7
                            INDEX TO EXHIBITS
 8
 9      Exhibit          Description          Page
10     Exhibit 1      10-10-22 PLAINTIFFS’ SEVENTH                          12
                      AMENDED NOTICE OF DEPOSITION OF
11                    OFFICE OF THE SECRETARY OF STATE
12     Exhibit 2      9-28-21 Report of Investigation                       28
                      by Blanchard, SEB2020-250,
13                    CONFIDENTIAL, SOS-INV000136-143
14     Exhibit 3      Photograph from YouTube Video of                      39
                      Post-it with Password
15
       Exhibit 4      Series of Tweets Beginning with                       46
16                    3:51 PM Tweet by Sterling
                      Responding to Adida's Tweet
17
       Exhibit 5      2/10 Transcript of Secretary                          51
18                    Raffensperger Interview labeled
                      "APC Raffensperger 20122
19
       Exhibit 6      Still Photo from The Carter                           62
20                    Center, Restoring Confidence in
                      American Elections Panel 3 (April
21                    29, 2022), YouTube (May 9, 2022),
                      with a Quote from Sterling
22
       Exhibit 7      E-mail Chain Ending with Tuesday,                     77
23                    5-11-21 4:25 PM E-mail, from
                      Watson, to Jones, Subject: Re:
24                    Coffee County, ATTORNEYS EYES
                      ONLY, SOS-INV000007-8
25

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     Case 1:17-cv-02989-AT Document 1645 Filed 02/21/23 Page 13 of 440
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 162 of 175


                                                                         Page 13

1             A.        Yes.    I just took it.
2             Q.        Yeah.     And is there any reason you cannot
3     give full and complete testimony today?
4             A.        Not that I'm aware of.
5             Q.        Okay.     And have you ever been convicted of
6     or charged with any crime?
7             A.        No.
8             Q.        Okay.     All right.        Take a look --
9             A.        Wait.     Do speeding tickets count?
10            Q.        No.
11            A.        Okay.
12            Q.        Those are not crimes.
13                      Take a look at Exhibit 1, if you would,
14    and turn to Page A-4 where it says, "AMENDED TOPICS."
15            A.        Yes, sir.
16            Q.        And you'll see that there's a topic there,
17    No. 1; and it continues on to the top of the next
18    page.
19                      And are you prepared to testify to the
20    knowledge of the Secretary's Office on that topic
21    today?
22            A.        Yes.
23            Q.        Okay.     Now what did you do to prepare for
24    your testimony today?
25            A.        Interviewed several individuals in the

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     Case 1:17-cv-02989-AT Document 1645 Filed 02/21/23 Page 14 of 440
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 163 of 175


                                                                      Page 14

1     office and -- or -- and people who also left the
2     office.     Pam Jones left the office.               Chris Harvey's
3     left the office.         Frances Watson has left the office,
4     but I did --       I did interview all of them.
5                    The current director in this investigation
6     is our chief investigator, Sara Koth.                   Josh --       Oh,
7     what's the last name?           Can't think of it.            One of our
8     other investigators who was the main person on the
9     ground.     Blanchard, that's the last name.
10                   Let's see.       Blake.      Talked to Blake Evans.
11                   Conferred with counsel.
12                   Read over my former -- what do you call
13    it -- deposition.         I read through Chris Harvey's
14    deposition.
15                   I reviewed other documents, including
16    things from a Channel 11 interview, the video from
17    The Carter Center.
18                   Let's see who else did I interview with.
19    Ryan Germany in my office.              I might have said that
20    already.     I apologize.
21                   And generally reviewed my own memory of
22    some of the stuff since this took place over the last
23    two years, and I was in a position to really be aware
24    of or be a part of the decision making process on
25    most of these -- the situation surrounding Coffee

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USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 164 of 175


                                                                         Page 15

1     County and any of the other potential items that
2     might have been -- where access might have been
3     improperly given to somebody or allegation of -- of
4     that kind.
5                       And I probably spent -- I --                I couldn't
6     even put a number to how many hours.                      I think
7     probably about three weeks' worth of time, depending
8     on my own time, doing it and doing the interviews and
9     doing research and re-reviewing the documentation.
10            Q.        Did you review any documents beyond your
11    prior deposition testimony and Mr. Harvey's
12    deposition testimony?
13            A.        Yes.
14            Q.        What other docs?
15            A.        Should I repeat the ones I already stated
16    or --
17            Q.        No.    The only thing I heard from documents
18    was those two --
19            A.        I also --
20            Q.        -- last --
21            A.        -- looked at the transcript of the Channel
22    11 interview.
23            Q.        Oh, the Channel 11.            Okay.
24            A.        I looked at the video or part of the video
25    from my thing at The Carter Center.

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USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 165 of 175




                                 Exhibit 13
      Case 1:17-cv-02989-AT Document 1681 Filed 06/14/23 Page 1 of 96
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 166 of 175


                                      REDACTED VERSION




                     Security Analysis of Georgia’s
                  ImageCast X Ballot Marking Devices

             Expert Report Submitted on Behalf of Plaintiffs Donna Curling, et al.
                  Curling v. Raffensperger, Civil Action No. 1:17-CV-2989-AT
            U.S. District Court for the Northern District of Georgia, Atlanta Division


                                 Prof. J. Alex Halderman, Ph.D.

                         With the assistance of Prof. Drew Springall, Ph.D.

                                           July 1, 2021
      Case 1:17-cv-02989-AT Document 1681 Filed 06/14/23 Page 2 of 96
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 167 of 175




                                                            Contents


          1   Overview . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    4
              1.1 Principal Findings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              4
              1.2 Main Conclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                6
              1.3 Organization of this Report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     8
          2   Georgia’s Voting Equipment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  9
              2.1 Certification and Testing History . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         9
              2.2 ImageCast X Hardware and Software . . . . . . . . . . . . . . . . . . . . . . . .                                 9
              2.3 ImageCast Precinct Hardware and Software . . . . . . . . . . . . . . . . . . .                                   11
          3   Threats to Georgia Elections . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 12
              3.1 Threat Actors . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            12
              3.2 BMD Ballot Manipulation Attacks . . . . . . . . . . . . . . . . . . . . . . . . . .                              13
          4   Methodology and Testing Process . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      17
              4.1 Testing Methodology . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  17
              4.2 Materials Examined . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 18
              4.3 Testing Process . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            18
              4.4 Proof-of-Concept Attacks . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   19
          5   Manipulating Ballots via the ICX Printer . . . . . . . . . . . . . . . . . . . . . . . . .                           20
              5.1 Decoding Ballot QR Codes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       20
              5.2 Defeating QR Code Authentication . . . . . . . . . . . . . . . . . . . . . . . . . .                             21
              5.3 Demonstration Hardware-Based Attack . . . . . . . . . . . . . . . . . . . . . .                                  23
          6   Attacks Against ICX Smart Cards . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        26
              6.1 Extracting Election Secrets from Poll Worker Cards . . . . . . . . . . .                                         28
              6.2 Forging Technician Cards to Install Malware on any ICX . . . . . . .                                             29
              6.3 Creating “Infinite” Voter Cards . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        30
          7   Constructing ICX Malware . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 32
              7.1 Overview of the Approach . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     32
              7.2 Obtaining the Real APK . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     33
              7.3 Decompiling and Reverse-Engineering . . . . . . . . . . . . . . . . . . . . . . . .                              33
              7.4 Modifying the ICX App to Change Votes . . . . . . . . . . . . . . . . . . . . .                                  34
              7.5 Defeating Applicable Defenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        35
              7.6 Conclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        38
          8   Installing Malware Locally . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               39
              8.1 Attaching USB Devices to the ICX . . . . . . . . . . . . . . . . . . . . . . . . . .                             39
              8.2 “Escaping” the ICX App . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     41
              8.3 Accessing a Root Shell via the Built-In Terminal App . . . . . . . . . .                                         43
              8.4 Manual Malware Installation Process . . . . . . . . . . . . . . . . . . . . . . . .                              43
              8.5 Automating Malware Installation . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          44
              8.6 Local Malware Installation using a Forged Technician Card . . . . .                                              45
              8.7 Local Malware Installation via Android Safe Mode . . . . . . . . . . . .                                         46
          9   Installing Malware Remotely . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  48
              9.1 ICX Election Definitions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   48
      Case 1:17-cv-02989-AT Document 1681 Filed 06/14/23 Page 3 of 96
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 168 of 175


                                                        REDACTED VERSION



             9.2 Directory Traversal Vulnerability . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           50
             9.3 Arbitrary Code Execution as Root . . . . . . . . . . . . . . . . . . . . . . . . . . .                              50
             9.4 Installing Malware from the Election Definition File . . . . . . . . . . .                                          51
             9.5 Defeating Security Precautions More Easily . . . . . . . . . . . . . . . . . . .                                    52
             9.6 Conclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           53
          10 Manipulating Logs and Protective Counters . . . . . . . . . . . . . . . . . . . . . . .                                 54
             10.1 Vulnerable Storage Design . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      54
             10.2 Manual and Automated Modification . . . . . . . . . . . . . . . . . . . . . . . .                                  55
          11 Weaknesses in the ICP Scanner . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       56
             11.1 The ICP Accepts Photocopied Ballots . . . . . . . . . . . . . . . . . . . . . . .                                  56
             11.2 A Dishonest Poll Worker with Access to the ICP Memory Card
                  can Deanonymize All Voted Ballots . . . . . . . . . . . . . . . . . . . . . . . . . .                              56
             11.3 Installed Tamper-Evident Seal could be Bypassed or Defeated . . .                                                  57
          Expert Qualifications . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          60
          References . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   61
          Exhibit A: October 2020 Software Update Instructions . . . . . . . . . . . . . . . .                                       67
          Exhibit B: Georgia Logic and Accuracy Procedures . . . . . . . . . . . . . . . . . . . .                                   78
          Exhibit C: Pro V&V Field Audit Report . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            90
      Case 1:17-cv-02989-AT Document 1681 Filed 06/14/23 Page 9 of 96
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 169 of 175


                                        REDACTED VERSION



          2     Georgia’s Voting Equipment
          As of November 2020, approximately 24 states used one or more components of
          the Dominion Democracy Suite voting system [88], which encompasses various
          models and versions of ballot scanners, BMDs, and election management system
          software. Georgia uses Democracy Suite version 5.5–A, including ImageCast X
          Prime (ICX) BMDs, ImageCast Precinct (ICP) precinct-count optical scanners,
          ImageCast Central (ICC) central-count optical scanners, and the Democracy
          Suite EMS.
              My analysis focuses on the ICX BMD. In 2020, the ICX was used in parts of 16
          states: Alaska, Arizona, California, Colorado, Georgia, Illinois, Kansas, Louisiana,
          Michigan, Missouri, Nevada, New Jersey, Ohio, Pennsylvania, Tennessee, and
          Washington. Although the vast majority of jurisdictions provide the ICX BMD to
          voters on request to assist with accessibility, Georgia is the only state to mandate
          ICX BMDs as the primary method of in-person voting state-wide [89].

          2.1   Certification and Testing History
          Democracy Suite 5.5–A is the successor to version 5.5, which was certified
          by the U.S. Election Assistance Commission (EAC) in September 2018 under
          the Voluntary Voting Systems Guidelines (VVSG) 1.0 (2005) standard [85, 86]
          following testing by Pro V&V, an EAC-accredited Voting System Test Laboratory
          (VSTL) [67]. Version 5.5–A was certified in January 2019 as a modification to
          5.5. As a modification, it required only limited review, which was conducted by
          another VSTL, SLI Compliance [74].
              Georgia entered into an agreement to purchase 5.5–A in July 2019 [34], and
          the Secretary of State engaged Pro V&V to evaluate it against state requirements.
          This evaluation was completed in August 2019 [66], and, two days later, the
          Secretary of State certified that the system was “in compliance with the applicable
          provisions of the Georgia Election Code and Rules of the Secretary of State” [33].
              Over the past four years, Democracy Suite has been the subject of security
          testing on at least seven occasions as part of state certification processes in other
          states, as summarized in Table 1. In California and Pennsylvania, tests were
          conducted by Pro V&V and SLI, and in Texas by statutorily appointed examiners.
          These tests involved source code review and/or hands-on testing. Some of the
          tests raised serious concerns, but only Texas declined to certify the Dominion
          system. Based on the public test reports, it appears that none of these tests
          uncovered the critical security issues that I document here.

          2.2   ImageCast X Hardware and Software
          The ICX [25] is an Android-based touch-screen device that can be operated as
          either a BMD or a DRE. In Georgia, it is exclusively used as a BMD, allowing
          voters to mark ballots on-screen and print them to an attached laser printer.
              The ICX hardware, shown in Figure 1, is a commercial off-the-shelf (COTS)
          Avalue HID-21V-BTX-B1R “Industrial Panel PC” [8]. On the front of the


                                                                                             9
     Case 1:17-cv-02989-AT Document 1681 Filed 06/14/23 Page 10 of 96
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 170 of 175


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     Date     Version State VSTL        Findings                                      Result
     Oct 2017 5.2      CA   SLI         Issues related to audit logging, passwords,   Accept [13, 77, 78]
                                        anti-virus, and installation
                                        Potential vulnerability related to software
                                        execution from attached USB drive
     Oct 2018 5.5      PA   SLI         Concerns regarding system hardening           Reject [64]
                                        documentation
     Jan 2019 5.5–A    PA   SLI         None                                          Accept [64]
     Jun 2019 5.5      TX   —           “concerns about whether [it] preserves        Reject [27]
                                        the secrecy of the ballot [and] operates
                                        efficiently and accurately”
     Oct 2019 5.10     CA   SLI         Issues related to audit logging, passwords,   Accept [12, 75, 76]
                                        anti-virus, and installation
     Jan 2020 5.5–A    TX   —           “concerns about whether [it] operates         Reject [28]
                                        efficiently and accurately; and is safe
                                        from fraudulent or unauthorized
                                        manipulation”
     Jul 2020 5.10–A   CA   Pro V&V     None (source-code only)                       Accept [55, 65]

            Table 1: Prior Security Testing During State Certifications. Various ver-
            sions of the ICX and ICP were subjected to forms of security testing during state
            certification tests in California, Pennsylvania, and Texas. Although some tests
            flagged concerns, only Texas declined to certified the equipment. None of these
            tests appear to have uncovered the critical security issues we found.



            device, there is a 21.5-inch touch-screen display and a smart-card slot used for
            authentication. On the back, there are four externally-accessible compartments
            covered by plastic doors: three containing various ports and the machine’s power
            button, and one with a battery for backup power.
                The ICX I tested runs a modified version of the Android 5.1.1 (“Lollipop”).
            This version of Android was released in December 2015. Even at that time, the
            next major version of Android (“Marshmallow”) had been available for months.
            Today, the current release is Android 11, which shipped in September 2020 [3].
                Most of the ICX’s functionality is provided by an Android application devel-
            oped by Dominion, which I will refer to as the “ICX App”. Unlike with consumer
            phones and tablets, the ICX App is not distributed through an “app store” (and
            could not be without connecting the ICX to the Internet). Instead, it is installed
            through a process called “side-loading”, in which an Android application package
            (APK) file containing the software is loaded from a USB device.
                The ICX App itself does not contain any election-specific information, such
            as races or candidates. Rather, these are loaded to the device from a USB drive
            before each election, in the form of an election definition file created using the
            Democracy Suite EMS software.


                                                                                               10
     Case 1:17-cv-02989-AT Document 1681 Filed 06/14/23 Page 11 of 96
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 171 of 175


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                      (a) ImageCast X [8]               (b) ImageCast Precinct [23]

                Figure 1: The ICX BMD and ICP Scanner Used in Georgia


          2.3   ImageCast Precinct Hardware and Software
          While not the focus of this study, I briefly examined the ICP scanner. The
          ICP [23], shown in Figure 1, is used to count voted ballots. It can process ballots
          that are produced by the ICX or those that are marked by hand. Inserted ballots
          are automatically pulled through the paper path, scanned on both sides, and
          deposited into a ballot box.
              In contrast to the ICX, the ICP uses a custom hardware design. A small
          touch-screen display provides administrative controls and feedback to voters. A
          built-in thermal printer produces “poll tapes” that record vote tallies. Whereas
          the ICX uses standard smart cards for user authentication, the ICP uses a device
          called an iButton [47], which Dominion refers to as a “security key”.
              There are three externally-accessible compartments on the ICP, all with
          plastic doors that can be covered with a tamper-evident seal. A compartment on
          the right side contains a USB Type-A port and an RJ-45 jack. On the front are
          two compartments for inserting Compact Flash cards used to load the election
          definition and store results.
              The ICP I tested runs a variant of the Linux operating system, µClinux version
          20070130. µClinux is a Linux variant intended for use in embedded devices; version
          20070130 was released in February 2007 [83] and is more than 14 years older than
          the most recent Linux version. A custom application named cf200.sig runs on
          top of µClinux and provides most of the scanner’s functionality.




                                                                                                    11
USCA11 Case: 23-14115   Document: 19   Date Filed: 12/29/2023   Page: 172 of 175




                                 Exhibit 14
     Case 1:17-cv-02989-AT Document 892-11 Filed 09/14/20 Page 1 of 1
USCA11 Case: 23-14115 Document: 19 Date Filed: 12/29/2023 Page: 173 of 175

From:             Barnes, Michael
To:               Scott Tucker
Subject:          [EXTERNAL] RE: L&A Export to State
Date:             Wednesday, January 15, 2020 10:07:58 AM


They can use the USB that the state has previously provided. However, I do expect us to be
providing another drive in the future.


From: Scott Tucker <scott.tucker@dominionvoting.com>
Sent: Wednesday, January 15, 2020 9:44 AM
To: Barnes, Michael <mbarnes@sos.ga.gov>
Subject: FW: L&A Export to State


EXTERNAL EMAIL: Do not click any links or open any attachments unless you trust the sender
and know the content is safe.
Michael, is the state providing new USB drives for the counties to send their L&A exports and E-Day
exports to you on or should they use the USB drive they have from the previous system?

Scott Tucker - CRM, GA
Scott.Tucker@dominionvoting.com
440.242.7451

GAsupport@dominionvoting.com
1-844-271-5371


From: Dedrick Smith <dedrick.smith@dominionvoting.com>
Sent: Wednesday, January 15, 2020 09:41
To: Scott Tucker <scott.tucker@dominionvoting.com>
Subject: L&A Export to State

Hello,

  I was wondering if you could ask the state if there is a special usb they are supposed to be
sending out to the counties to submit their L&A exports and the exports for election day. They
have a usb that they normally send the export files on, but they are old. So we need to know if
they can use those or if the state will be sending new usbs out.

Thanks,
Dedrick Smith




                                                                                               PLAINTIFF EXHIBIT


                                                                                                      37
                                                                                                  1:17-cv-02989

                                     Plaintiff Exhibit 37   p. 1 of 1
USCA11 Case: 23-14115     Document: 19     Date Filed: 12/29/2023   Page: 174 of 175



                      CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing brief complies with the type-volume

limitations of Federal Rule of Appellate Procedure 21(d)(1) because it contains

7,514 words excluding the parts of the brief exempted by Fed. R. App. P. 32(f), as

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      This brief complies with the typeface requirement of Fed. R. App. P. 32(a)(5)

and the type style requirements of Fed. R. App. P. 32(a)(6) because it has been

prepared in a proportionally spaced typeface, including serifs, using Microsoft Word

2022 in Times New Roman 14-point font.

 Dated: December 29, 2023                           /s/ Joseph R. Palmore
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      I certify that I electronically filed the foregoing with the Clerk of the Court

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 Dated: December 29, 2023                            /s/ Joseph R. Palmore
